Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 1 of 124 PageID 700




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                CIVIL DIVISION

            SUSAN BACS,
            and ARON BACS,
                                            CASE NO.: 8:21-CV-2852-TPB-TGW
                       Plaintiffs,
            vs.

            CAPITAL ONE FINANCIAL CORPORATION,

                      Defendant.
            ____________________________________________________/


                        VIDEOCONFERENCE DEPOSITION OF



                  CORPORATE REPRESENTATIVE FOR CAPITAL ONE
                                JULIE MILLER



                               (Pages 1 - 107)


                           Wednesday, July 27, 2022



                             9:30 a.m. - 11:55 a.m.



            Reported By:

            Jeanice Freyre Schaffer
            Notary Public, State of Florida
            My Commission Expires: January 27, 2024
            Commission Number: GG947453
            Appearing Remotely From Hillsborough County




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 2 of 124 PageID 701


                                                                       Page 2
        1                         REMOTE APPEARANCES
        2
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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 3 of 124 PageID 702


                                                                       Page 3
        1                            I N D E X

        2                                                                PAGE

        3   Exhibits                                                       4

        4   Proceedings                                                    5

        5   Direct Examination by Ms. Heystek                              5

        6   Errata Sheet                                                 103

        7   Certificate of Reporter                                      105

        8   Certificate of Oath                                          106

        9   Notification of Reading Transcript                           107

       10

       11

       12

       13

       14

       15

       16

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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 4 of 124 PageID 703


                                                                          Page 4
        1                      E X H I B I T S

        2    NO.                  DESCRIPTION                      PAGE

        3
            A          Amended Notice of Corporate
        4              Rep Deposition                                13

        5   B          Bacs COBRA Coverage Election Notice           32

        6   C          Bacs COBRA Election Form                      33

        7   D          Bacs Important Info COBRA                     33

        8   E          Roubert COBRA Coverage Election Notice        46

        9   F          Roubert COBRA Elction Form                    49

      10    G          Roubert Important Info COBRA                  50

      11    H          Cap On Emp Welfare Benefits Plan              11

      12    I          Defendant's Responses to Roggs                53

      13    J          Defendant's Initial Disclosure                26

      14    K          Defendant's Answers and Defenses              98

      15    L          Order on MTD Valdivieso                       61

      16    M          Master Services Agreement between
                       Capital One and Anthem 2014                   18
      17
            N          Amendment 022 to
      18               Master Services Agreement                     18

      19    O          Defendant's Responses to RFAs                 56

      20    P          Confidential - H&W Plan
                       Process and Controls                          72
      21
            Q          SPD Docs                                    (attached)
      22
            R          Defendant's Responses and Objections
      23               to CR Depo                                    14

      24    S          DOL Model Notice                              72

      25




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 5 of 124 PageID 704


                                                                       Page 5
        1                          PROCEEDINGS

        2              (Videoconference deposition taken remotely

        3   before Jeanice Freyre Schaffer, Court Stenographer

        4   and Notary Public in and for the State of Florida at

        5   Large, in the above cause.)

        6                    THE COURT REPORTER:     Can you raise your

        7   right hand, please.

        8                    THE WITNESS:    (Witness complies.)

        9                    THE COURT REPORTER:     Do you swear that the

       10   testimony you are about to give will be the truth, the

       11   whole truth, and nothing but the truth, subject to penalty

       12   of perjury?

       13                    THE WITNESS:    I do.

       14                    THE COURT REPORTER:     Counselor, you may

       15   proceed.

       16   THEREUPON,

       17                        JULIE MILLER,

       18   having been first duly sworn was examined and testified as

       19   follows:

       20                      DIRECT EXAMINATION

       21   BY MS. HEYSTEK:

       22         Q.   Ma'am, could you state your full name for

       23   the record, again, and spell your last name.

       24         A.   Sure.   Julie Miller, M-I-L-L-E-R.

       25         Q.   All right. Ms. Miller, my name is Amanda




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 6 of 124 PageID 705


                                                                       Page 6
        1    Heystek and I'm on behalf the Plaintiffs, Susan Bacs
        2    and Jessica Roubert, in regards to this case
        3    involving COBRA notice.        Are you familiar with the
        4    complaint?
        5          A.    Yes.
        6          Q.    Okay.    And you understand you're here as a
        7    corporate representative, right?
        8          A.    Yes.
        9          Q.    All right.     I'm not going to ask you
       10    anything your attorneys told you, or anything like
       11    that.   So if my question sounds like that, stop me
       12    because I'm not here to find out what your attorneys
       13    told you.
       14                But I just want to make sure that you
       15    understand you're here to give answers on behalf of
       16    Capital One.     In your position with Capital One --
       17    what is your position there?
       18          A.    Human Resources Director.
       19          Q.    And how long have you been in that
       20    position?
       21          A.    Since 2014.
       22          Q.    What was your role before then, if you did
       23    work for Capital One?
       24          A.    Senior Manager, Human Resources.
       25          Q.    And how long have you worked with Capital


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 7 of 124 PageID 706


                                                                       Page 7
        1    One in total?
        2          A.    Twenty-six years.
        3          Q.    And as the HR director can you tell me a
        4    little bit just about your job duties.
        5          A.    Sure.    I oversee the benefits operation
        6    and global mobility team, and that includes helping
        7    to administer all of our health and welfare and
        8    financial benefits and supporting global mobility
        9    assignments at Capital One.
       10          Q.    Have you ever given a deposition before?
       11          A.    No.
       12          Q.    Okay.    So I'll just go over the ground
       13    rules.     If there's anything that you don't
       14    understand, let me know.        But basically I'm just
       15    here to ask you questions.        I'm not here to argue
       16    with you.    I just want to know what you know and
       17    what the position is for Capital One on certain
       18    topics.    And we've given those topics to your
       19    counsel and hopefully you've seen them before.
       20    We're going to go over them in a little bit.
       21                If I ask you a question that you don't
       22    understand, just let me know and I will gladly
       23    rephrase it.      But if you do answer, we can all
       24    assume that you understood the question as asked.
       25    Is that fair?


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                                                                       Page 8
        1                       MR. BLUMENFELD:     Objection.
        2          A.    Yes -- oh, sorry.
        3                       MR. BLUMENFELD:     That's okay.
        4    BY MS. HEYSTEK:
        5          Q.    That's an excellent ground rule to go over
        6    right now.     From time to time your counsel will
        7    object.    So if you want to pause before you answer a
        8    question, let him place his objection on the record.
        9    Unless he instructs you not to answer, you would
       10    otherwise answer the question.
       11                If there is an objection, or what have
       12    you -- like the point is that we don't want to talk
       13    over each other, because the court reporter is
       14    taking down everything that we say.
       15                I'm from Chicago, so I talk fast
       16    sometimes.     If I do, just let me know and I'll slow
       17    down.
       18                If you need a break, there's no problem
       19    taking a break.      The only thing I ask is that you
       20    answer the question on the table before we take the
       21    break.     Is that fair?
       22          A.    Yes.
       23          Q.    All right.     And you're already great on
       24    the yes and nos, instead of the uh-huhs and the
       25    huh-uhs, which is the important part of the


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 9 of 124 PageID 708


                                                                       Page 9
        1    transcript.     We want to make sure that it is all
        2    legible and we can all use it later.           Is that fair?
        3          A.    Yes.
        4          Q.    All right.     In your role as the HR
        5    director since 2014 does any of that involve
        6    experience dealing with COBRA notices?
        7          A.    Yes.
        8          Q.    Okay.    And what is your role there in
        9    dealing with the COBRA notices?
       10          A.    My team works with a third-party
       11    administrator who helps to facilitate the COBRA
       12    process, they administer that.         And my team helps to
       13    manage and check in on the work in the performance
       14    there.
       15          Q.    I understand you're the HR director, but
       16    can you ballpark the number of people on, "My team,"
       17    when you say that?
       18          A.    Oh, my full team is approximately 20
       19    people.
       20          Q.    And who is the third-party administrator?
       21          A.    It's Anthem, and they have a
       22    subcontractor, Health -- Wage Works Health Equity
       23    that performs the COBRA administration.
       24          Q.    So Anthem subcontracts with
       25    Wage Works/Health Equity, right?


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                                                                          Page 10
        1                           MR. BLUMENFELD:   Objection.

        2            A.      Right.

        3    BY MS. HEYSTEK:

        4            Q.      You can answer.

        5            A.      Yes.

        6            Q.      For purposes of this depo, Wage Works and

        7    Health Equity are the same entity; correct?

        8            A.      Yes.

        9            Q.      All right.    For purposes of this depo if I

       10    use, "Wage Works," you understand I'm talking about

       11    that consolidated entity, right?

       12            A.      Yes.

       13                           MS. HEYSTEK:   All right.   Here's the fun

       14    part.        I'm going to share my screen.     And some of these

       15    documents have been marked confidential.              So once I

       16    identify them I want to go off the record and just have a

       17    quick discussion with Jeremy and Chris about that.

       18                           But the first one is what I've

       19    premarked as Exhibit H, which is, "The Capital One

       20    Financial Corporation Employee Welfare Benefits

       21    Plan."        Do you see that?

       22            A.      Yes.

       23            Q.      All right.    And this was amended and

       24    restated effective January 1st, 2018; correct?

       25            A.      Yes.


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                                                                       Page 11
        1         Q.    Is this the most recent the statement of

        2    the Welfare Benefits Plan?

        3         A.    Yes, I understand it to be the most recent

        4    version.

        5                      MS. HEYSTEK:   Okay.   I'd like to enter

        6    Exhibit H into the record.

        7               (Exhibit H was marked for identification.)

        8                      MS. HEYSTEK:   And if we can go off the

        9    record for just a brief minute.

       10               (A brief discussion was held off the

       11    record.)

       12                      MS. HEYSTEK:   We can go back on the record.

       13    BY MS. HEYSTEK:

       14         Q.    All right.    So the next thing would be --

       15    I actually stopped that share screen way too early.

       16               All right.    Ms. Miller, the next thing I'm

       17    showing you is the Amended Notice of Taking

       18    Corporate Representative Deposition.

       19               Are you familiar with this document?

       20         A.    Could you scroll up so I can see the top

       21    of the page?

       22         Q.    Absolutely.

       23         A.    And scroll down a little bit further.

       24         Q.    Uh-huh.

       25         A.    Yes.




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                                                                       Page 12
        1           Q.    All right.     So when you prepared for this
        2    deposition, can you tell us what documents you
        3    reviewed in preparing for it, if any?
        4           A.    There were multiple documents that I had
        5    reviewed in preparation for this.           Is there a
        6    specific document you are looking for?
        7                 I understand that most of these were -- or
        8    all of them would have been entered as a part of the
        9    Response to the Plaintiff's Request.
       10           Q.    Most of them are.      So you've gone over the
       11    documents that were produced by Defendant
       12    Capital One, right?
       13           A.    Yes.
       14           Q.    Okay.    Did you go through any other
       15    documents that haven't been produced yet, such as
       16    like Wage Works documents, contracts?
       17                        MR. BLUMENFELD:     Objection.
       18           A.    Our contract is with Anthem for the COBRA
       19    services and those would have been submitted as part
       20    of this request.
       21    BY MS. HEYSTEK:
       22           Q.    Okay.    So is it Capital One's position
       23    that it doesn't have any contracts directly with
       24    Wage Works?
       25                        MR. BLUMENFELD:     Objection.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 13 of 124 PageID 712


                                                                       Page 13
        1         A.    I'm not aware of any contracts that

        2    Capital One has with Wage Works or the COBRA

        3    administration services.

        4                    MS. HEYSTEK:    Okay.   Let's mark Exhibit A

        5    into the record.

        6               (Exhibit A was marked for identification.)

        7    BY MS. HEYSTEK:

        8         Q.    What I'm going to do is probably go

        9    through each one of these topics.       Do you have a

       10    copy of this document in front of you?

       11         A.    I do not.

       12         Q.    Does it help if I leave it up on the

       13    screen?

       14         A.    Yes, please.

       15                    MR. BLUMENFELD:    And, Amanda, before you

       16    dive into this, you know we served those objections to the

       17    30(b)(6) Notice, and it might be helpful if you either

       18    have that handy or refer to it.      Because, obviously, there

       19    are some topics on which Ms. Miller is not a designated

       20    witness because we've objected to the topic in whole or in

       21    part.

       22                    MS. HEYSTEK:    That's an excellent point,

       23    Mr. Blumenfeld.

       24    BY MS. HEYSTEK:

       25         Q.    So, Ms. Miller, I'm showing you what's




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                                                                       Page 14
        1    been premarked as Exhibit R, which is Defendant's

        2    Responses and Objections to Plaintiff's Amended

        3    Notice of Taking Corporate Representative

        4    Deposition.

        5               Have you seen this document before?

        6         A.    Yes.

        7         Q.    Okay.   All right.    While we're going

        8    through these topics, from time to time what your

        9    counsel is saying is that they've made certain

       10    objections.   But subject to those objections, they

       11    have agreed to produce you to testify on certain

       12    portions or fractions of those topics, so to speak.

       13    Do you understand that?

       14         A.    Yes.

       15                      MS. HEYSTEK:   All right.   So let's mark and

       16    enter Exhibit R into the record.

       17               (Exhibit R was marked for identification.)

       18    BY MS. HEYSTEK:

       19         Q.    So starting with the first topic, which is

       20    Defendant's business relationship with Wage Works

       21    Inc. as it relates to COBRA notices and COBRA

       22    compliance.

       23               My understanding is that the Defendant has

       24    agreed to provide you to be reasonably prepared to

       25    provide non-privileged testimony regarding the




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                                                                       Page 15
        1    COBRA-related services provided by Wage Works to the
        2    plan during the relevant period.
        3                 My understanding is that your counsel has
        4    defined the -- well, the Defendant has defined the
        5    relevant period as December 2017 to December of
        6    2021.    Am I right?
        7           A.    Sorry.    Can you say those dates again.
        8           Q.    Sure.    December 7th, 2017 to
        9    December 7th, 2021.       And if you look at Exhibit R
       10    right here, I'm highlighting, No. 3 on Page 2.
       11           A.    That is correct.
       12           Q.    So first can you just tell me what
       13    Wage Works's role is for Capital One's
       14    administration of you COBRA notices and benefits?
       15           A.    So as I stated, Wage Works is a
       16    subcontractor to Anthem and they are providing
       17    services to help administer COBRA on behalf of
       18    Capital One that includes providing various notices
       19    to participants who are terminating from the
       20    benefits plan.
       21                 They also support the enrollment into the
       22    COBRA.      They have a contact center to answer
       23    questions about COBRA.        And they answer they handled
       24    matters related to billing and collecting the
       25    premiums for COBRA services.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 16 of 124 PageID 715


                                                                       Page 16
        1           Q.    Does your team ever communicate directly
        2    with Wage Works?
        3           A.    We do.
        4           Q.    How so?
        5           A.    That might take the form through regular
        6    ongoing calls, or emails.         And as a general
        7    practice, we include our Anthem account reps as a
        8    part of that conversation.
        9           Q.    Do you know who developed the COBRA notice
       10    that was sent to Ms. Bacs and Ms. Roubert?
       11           A.    That would be -- no, I don't.
       12           Q.    Did anyone on your team have any
       13    involvement in developing the COBRA notice?
       14           A.    As a general practice we are relying on
       15    Anthem, Health Equity, to provide these templates on
       16    our behalf.
       17           Q.    Well, who's responsible for the content of
       18    the notice?
       19                       MR. BLUMENFELD:      Objection.
       20           A.    So in our contract with Anthem and Health
       21    Equity we have asked them to produce these notices
       22    and request them to do so in a timely manner.             And I
       23    know that there are other provisions in the
       24    agreement that describe what their responsibilities
       25    are.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 17 of 124 PageID 716


                                                                       Page 17
        1    BY MS. HEYSTEK:

        2         Q.    And, obviously, I'm not here for you to

        3    have a memory contest about what any contract says,

        4    because I'm sure they're pretty lengthy.

        5               Is there a document that dictates who is

        6    responsible for what?

        7         A.    My understanding is their services are

        8    described in the agreement with Anthem, and that was

        9    part of some of the documentation that was produced.

       10         Q.    I'm now showing you what has been

       11    premarked as Exhibit M.

       12               This is the Master Services Agreement

       13    between Capital One Services, LLC, and Anthem Health

       14    Plans of Virginia, Inc., dated November 1st, 2014

       15    and then it has a contract number below it for

       16    identification.

       17               Are you familiar with this document?

       18         A.    Yes.

       19         Q.    All right.   And is this the contract that

       20    dictates the scope of work between Capital One and

       21    Anthem?   I can scroll through, if would you like.

       22         A.    It is part, I believe there are multiple

       23    documents and -- that are outlined to support the

       24    entirety of the services.

       25                      MS. HEYSTEK:   Okay.   Let's enter Exhibit M.




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                                                                       Page 18
        1    And for the record, this was also marked confidential.

        2               (Exhibit M was marked for identification.)

        3    BY MS. HEYSTEK:

        4         Q.    Ms. Miller, I'm also showing you an

        5    amendment to the Master Services Agreement that was

        6    produced to us that was effective January 1st, 2022

        7    between Capital One and Anthem.

        8               Are you familiar with this document?

        9         A.    Could you scroll through a little bit?

       10         Q.    Uh-huh.

       11         A.    Generally, yes.

       12         Q.    Okay.   Is this the only amendment to that

       13    contract between Capital One and Anthem that's

       14    effective?

       15         A.    I don't know.

       16                     MS. HEYSTEK:   Okay.   Let's Enter Exhibit N.

       17               (Exhibit N was marked for

       18    identification.)

       19    BY MS. HEYSTEK:

       20         Q.    So to your knowledge is there an

       21    indemnification between Wage Works and Anthem?

       22                     MR. BLUMENFELD:   Objection.

       23         A.    I don't know what the terms are or the

       24    provisions are between Anthem and their

       25    subcontractor.




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 19 of 124 PageID 718


                                                                       Page 19
        1    BY MS. HEYSTEK:

        2          Q.   Have there been any discussions that

        3    you're aware of between Anthem and Capital One that

        4    its notice was not compliant with the COBRA act?

        5                      MR. BLUMENFELD:    I'm sorry.    I had trouble

        6    hearing you at the end.

        7    BY MS. HEYSTEK:

        8          Q.   Let me rephrase that.

        9               To your knowledge are there any

       10    communications from Anthem to Capital One that its

       11    notice is noncompliant?

       12          A.   I'm not aware of any communication to that

       13    effect.

       14          Q.   Has Wage Works ever communicated to

       15    Capital One that its form was noncompliant?

       16          A.   I'm not aware of --

       17          Q.   I was just going to clarify.       By, "Form,"

       18    I meant COBRA notice.

       19          A.   I'm not aware of any communications to

       20    that effect either.

       21          Q.   How often does Capital One communicate

       22    directly with Wage Works in regards to the notices

       23    that it's sending out?

       24          A.   We have a lot of different ongoing

       25    conversations with Wage Works Health Equity.         I


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 20 of 124 PageID 719


                                                                       Page 20
        1    wouldn't be able to tell you exactly how many
        2    conversations are specific to those notifications
        3    versus other services that we are administering and
        4    working through integrations and other questions and
        5    member services.
        6           Q.    Let's go to the second topic, "The
        7    identity of Defendant's COBRA Administrator over the
        8    last five years, and what role the COBRA
        9    administrator plays in terms of COBRA notice."
       10                 My understanding is that the Defendant has
       11    agreed to produce you and be reasonably prepared to
       12    provide non-privileged testimony regarding the
       13    identity of and services provided by the plan's
       14    COBRA administrator during the relevant period that
       15    we've already established.
       16                 So first, tell me, the COBRA
       17    administrator, that's Wage Works Health Equity,
       18    right?
       19           A.    Correct.
       20           Q.    And has it been so for the last five
       21    years?
       22           A.    Yes, since January 1st, 2017.
       23           Q.    Has there been any changes?
       24                       MR. BLUMENFELD:      Objection.
       25           A.    Can you say more about what you mean by,


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 21 of 124 PageID 720


                                                                       Page 21
        1    "changes"?
        2    BY MS. HEYSTEK:
        3           Q.    Have you changed COBRA administrators
        4    since 2017?
        5           A.    No.
        6           Q.    Has the scope of work or the contract
        7    between you and Anthem changed in regards to COBRA
        8    notices in the past five years?
        9                       MR. BLUMENFELD:      Objection.
       10           A.    Not to my knowledge.
       11    BY MS. HEYSTEK:
       12           Q.    So what services does Wage Works or Health
       13    Equity provide?
       14           A.    Is there a specific question?         Because I
       15    think I answered earlier a high-level of what they
       16    provide, and I know we've also provided the service
       17    agreement that described their services as well.
       18           Q.    Let's dive down a little bit, low-level,
       19    into the COBRA notice and tell me how they process
       20    the COBRA notice.
       21                       MR. BLUMENFELD:      Objection.
       22           A.    Can you -- I'm not sure I understand what
       23    you are asking when you -- or what you're looking
       24    for when you say, "How do they process a COBRA
       25    notice?"


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 22 of 124 PageID 721


                                                                       Page 22
        1    BY MS. HEYSTEK:
        2           Q.    Sure.    Let me rephrase that.
        3                 What's the workflow that you know of as
        4    the HR director and the corporate representative for
        5    Capital One in regards to that workflow for COBRA
        6    notices?     Somebody gets terminated.        How does the
        7    thing work?     Do you send information?
        8                 My understanding is there's a batch that
        9    goes over to Wage Works.        Can you dive down into
       10    that process and walk us through it?
       11           A.    Yes.    I can give you an overview of how
       12    that works.     So Capital One terminations would be
       13    entered into our HR system of record, which is
       14    Work Day.     Those would then be processed.         And up
       15    until April 3rd of 2022 we would provide that
       16    information to our benefits administrator who
       17    handled all of our enrollment and election data,
       18    that was Life Works.        They would then provide that
       19    information on the HR data, including terminations,
       20    to be processed by Health Equity.           And then Health
       21    Equity would use that information that they received
       22    about terminations to the plan to generate the COBRA
       23    notices.
       24                 As of April 3rd we in-sourced that
       25    benefits administration.        And so as of April 3rd --


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 23 of 124 PageID 722


                                                                       Page 23
        1    or starting that week, rather, since it's a weekly

        2    batch process, we are now providing that HR data

        3    file to Health Equity to produced the notices.

        4         Q.    What was the reason for the change?

        5         A.    It was really just a wanting to have more

        6    oversight into those processes, and there was a

        7    little bit of cost at play.

        8         Q.    But it was unrelated to the actual COBRA,

        9    because we have a lot of files that actually come

       10    from Work Day to other downstream vendors.

       11                    THE COURT REPORTER:     I'm sorry -- that come

       12    from where?

       13                    THE WITNESS:    There are a lot of files

       14    that, that go to downstream vendors.

       15                    THE COURT REPORTER:     Downstream.    Okay.

       16    Thank you.

       17                    THE WITNESS:    Uh-huh.

       18                    MS. HEYSTEK:    I appreciate that.

       19    BY MS. HEYSTEK:

       20         Q.    And let's move onto Topic 3, "The

       21    identities of the individuals responsible for the

       22    notification and administration of the continuation

       23    of health coverage after a qualifying event."

       24               So prior to April 3rd, Life Works would

       25    send that data to Wage Works; is that right?




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 24 of 124 PageID 723


                                                                       Page 24
        1           A.    That's correct.
        2           Q.    Okay.    And then after April 3rd of 2022
        3    Capital One is sending that batch directly?
        4           A.    Correct.
        5           Q.    Okay.    And maybe I missed it, but who
        6    sends it -- before April 3, 2022, is it Capital One
        7    that sends the information directly to Life Works or
        8    does it go through Work Day first?
        9           A.    So Work Day is our HR human capital
       10    management system.       So when I say, "Capital One,"
       11    or, "Work Day," I'm kind of using them
       12    interchangeably because that's our system of record
       13    and the file comes out of Work Day that we send.
       14           Q.    I'm going to share my screen again.
       15                 Ms. Miller, I'm showing you what's been
       16    premarked as Exhibit J, this is Defendant's Initial
       17    Disclosures.
       18                 Are you familiar with this document?
       19           A.    Yes.
       20           Q.    Okay.    In terms of individuals that would
       21    likely have discoverable information, the only
       22    people listed were the Plaintiffs, Susan Bacs and at
       23    the time Aron Bacs.       Do you know of other
       24    individuals that would have information regarding
       25    the COBRA notices?


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 25 of 124 PageID 724


                                                                       Page 25
        1                       MR. BLUMENFELD:      Objection?
        2           A.    When you say, "Other information," can you
        3    share a little bit more about what you're looking
        4    for?
        5    BY MS. HEYSTEK:
        6           Q.    Sure.   The allegation in this complaint is
        7    that the COBRA notice was noncompliant, that
        8    Capital One was sending out for roughly four years
        9    from December 2017 to December of 2021.            And so
       10    we're looking to find out who was actually
       11    responsible for developing those notices and had a
       12    hand in any changes that may or may not have been
       13    done.
       14                 So we're kind of looking to see who else
       15    is responsible, that goes to No. 3, "The identities
       16    of individuals responsible for the notification and
       17    administration of the continuation of health
       18    coverage after a qualifying event."
       19                 And based on the Defendant's initial
       20    disclosures, the only people they listed were the
       21    Plaintiffs at the time.        So I'm wondering if anybody
       22    on your team had a hand in developing the notice?
       23                       MR. BLUMENFELD:      Objection.
       24           A.    So there have been a lot of different
       25    individuals who may have been involved since 2017,


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 26 of 124 PageID 725


                                                                       Page 26
        1    so I can't -- I don't know who would have been
        2    involved.
        3                       MS. HEYSTEK:     Let's enter Exhibit J.
        4                 (Exhibit J was marked for identification.)
        5    BY MS. HEYSTEK:
        6           Q.    In terms of your team, is anybody on your
        7    team responsible for compliance of the COBRA notice
        8    with the law?
        9                       MR. BLUMENFELD:      Objection.
       10           A.    I wouldn't say that that falls on one
       11    responsible party.
       12    BY MS. HEYSTEK:
       13           Q.    Two, three, specific team?
       14           A.    From my perspective I think it's
       15    Capital One's obligation to be compliant with the
       16    applicable laws and regulations.
       17           Q.    And how would they do that?
       18                 Let me break that down for you.         So if
       19    it's Capital One's obligation to ensure the COBRA
       20    notice is compliant with the law, is there a review
       21    schedule, so to speak, to review the COBRA notice
       22    every one year, two years, whatever the case might
       23    be?
       24                       MR. BLUMENFELD:      Objection.
       25           A.    As a general practice we have


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 27 of 124 PageID 726


                                                                       Page 27
        1    conversations internally amongst ourselves.             And we
        2    are also talking with Anthem and Health Equity, Wage
        3    Works about industry changes we made from time to
        4    time.    Also, you know, talk with our internal
        5    counsel about potential changes.          And that's
        6    typically how we would stay abreast of changes as
        7    they relate to notices and regulations.
        8    BY MS. HEYSTEK:
        9           Q.    And I'm certainly not asking for anything
       10    you've discussed with your attorneys.
       11                 In terms of your conversations with Anthem
       12    and Wage Works would there be emails discussing any
       13    changes to the COBRA notice?
       14           A.    I don't know.
       15           Q.    Has anyone looked to see if there were
       16    emails discussing changes to the COBRA notice?
       17           A.    I don't know.
       18           Q.    Sometimes companies designate a
       19    point-person to interact with vendors or
       20    contractors.      Is there a point-person for the
       21    contract with Anthem?
       22           A.    We do have, what I would say, is a process
       23    lead, if you will, within my team who is most
       24    familiar with the COBRA administration and deals
       25    most with -- with Health Equity.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 28 of 124 PageID 727


                                                                       Page 28
        1            Q.   And who is that?

        2            A.   Probably Alisa Lane.

        3                      THE COURT REPORTER:     I'm sorry.    Can you

        4    say that again.

        5                      THE WITNESS:   Yes, it's Alisa, A-L-I-S-A,

        6    Lane.

        7    BY MS. HEYSTEK:

        8            Q.   And how long has she been the process lead

        9    for Wage Works, Health Equity?

       10            A.   She had been on our team for eight years.

       11    And I would say it's probably been the last several

       12    years that she's been a process lead, but I couldn't

       13    give you specifics.

       14            Q.   Do you know who the process lead was

       15    before Alisa Lane?

       16            A.   I don't know.

       17            Q.   Is Capital One aware of any changes it

       18    made to its COBRA notice from December 2017 to

       19    December of 2021?

       20                      MR. BLUMENFELD:    Objection.

       21            A.   So I know that there could have been

       22    various types of changes that may have happened over

       23    that time period.     Is there something more specific

       24    that you're looking for in the way of changes?

       25    BY MS. HEYSTEK:


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 29 of 124 PageID 728


                                                                       Page 29
        1           Q.    I'm trying to determine how often Capital
        2    One makes changes to the COBRA notice or if it's
        3    made any substantive changes between December of
        4    2017 to 2021.
        5                       MR. BLUMENFELD:      Objection.
        6    BY MS. HEYSTEK:
        7           Q.    And maybe you don't know, and that's fine,
        8    you can say, "I don't know."         It's not a memory
        9    contest.
       10           A.    Yeah, I know that there had been a number
       11    of changes and some of those maybe, you know,
       12    formatting or context or text.          And then there had
       13    been some additional -- some other changes that have
       14    happened over the last few years, some of which were
       15    in response to ARPA, right, and COVID and adding
       16    additional language there.         And then I do know that
       17    we also had added the end date for COBRA coverage at
       18    some point as well.       I think that was in early 2020.
       19           Q.    Tell me about that, the end day for COBRA
       20    coverage that was added in 2020.
       21           A.    Well, the letter has always indicated the
       22    time period in which COBRA -- the duration of COBRA
       23    coverage, which is generally the 18 months, could be
       24    shorter, could be longer, depending on various
       25    circumstances, right, for an individual.            But the


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 30 of 124 PageID 729


                                                                        Page 30
        1    actual date, 18 months from the printed effective
        2    date, was added in February of 2020, I think it was.
        3           Q.    And why was that added?
        4           A.    I don't know.
        5           Q.    Do you know if it was because of the
        6    lawsuits that had happened in previous years
        7    regarding Wage Works?
        8           A.    I don't know.
        9                       MR. BLUMENFELD:      Objection.
       10    BY MS. HEYSTEK:
       11           Q.    When that change was made in February of
       12    2021, would there be records about why that change
       13    was made?
       14           A.    I don't know.
       15           Q.    Would there be communications about that
       16    change?
       17           A.    I don't know.
       18           Q.    How did the change take place?         Does
       19    Capital One direct Wage Works to make the change?
       20                       MR. BLUMENFELD:      Objection.
       21           A.    So I think I heard two questions in there.
       22    Can you restate your question just to make sure I'm
       23    answering...
       24    BY MS. HEYSTEK:
       25           Q.    Sure.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 31 of 124 PageID 730


                                                                       Page 31
        1               Does Capital One direct Wage Works to make

        2    the change?

        3          A.   Not that I'm aware of.

        4          Q.   And I think I said it wrong, actually.

        5    Let me say it again more specifically.

        6               Did Capital One direct Wage Works to make

        7    the change to include the end date for COBRA

        8    coverage in February of 2020?

        9          A.   Not that I'm aware of.

       10          Q.   Do you know who did make that change?

       11          A.   I do not.

       12          Q.   Do you know who directed that change?

       13          A.   I do not.

       14          Q.   All right.    I'm going to move onto

       15    Topic 4, "The dates that plan administrator issued a

       16    COBRA notice to Plaintiffs."

       17               And I'm going to first show you what's

       18    been premarked as Exhibit B.       And I'll represent to

       19    you that this is a notice that was sent to Susan

       20    Bacs and her covered dependents.

       21               Are you familiar with this document?

       22                     MR. BLUMENFELD:     Just, Amanda, before you

       23    continue with this, it looks to me like this Exhibit B

       24    says it's Page 1 of 3.

       25                     MS. HEYSTEK:    Yes.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 32 of 124 PageID 731


                                                                        Page 32
        1                    MR. BLUMENFELD:    Is this the copy --

        2                    MS. HEYSTEK:    So I'll represent to you that

        3    I have broken these pieces out.      And if you want, I'll go

        4    through the whole thing and let her put it on the record.

        5                    But there's this portion that's three

        6    pages, then there's the election form, and then

        7    there's a third piece of information.

        8    BY MS. HEYSTEK:

        9         Q.     Is that how Wage Works normally send out

       10    notices on behalf of Capital One during the relevant

       11    period, Ms. Miller?

       12         A.     I'm sorry.    Can you scroll through the

       13    document?

       14         Q.     Absolutely.   So I'm going to show you

       15    first what is premarked as Exhibit B.      Right?   This

       16    is three pages, it has Susan Bacs name on it.       It

       17    has her address.    It has some personalized

       18    information up at the top.     And then we go through

       19    three pages.

       20                (Exhibit B was marked for identification.)

       21    BY MS. HEYSTEK:

       22         Q.     And if you want I can -- let's go ahead

       23    and I'll show you Exhibit C, what I premarked as

       24    Exhibit C, which the COBRA election form with Susan

       25    Bacs name on it.    And that's two pages.




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 33 of 124 PageID 732


                                                                       Page 33
        1                 (Exhibit C was marked for identification.)
        2    BY MS. HEYSTEK:
        3           Q.    And then there's Exhibit D, which was sent
        4    to Ms. Bacs.      It says, "Important Information:
        5    COBRA Coverage Rights and other Health Coverage
        6    Alternatives," and that is 11 pages.
        7                 (Exhibit D was marked for identification.)
        8    BY MS. HEYSTEK:
        9           Q.    Let me just ask you sort of generally, are
       10    you familiar with these three pieces?
       11           A.    Yes.
       12           Q.    Okay.    And is it your understanding
       13    that -- well, you would agree with me that these are
       14    the three pieces of information that were sent to
       15    Ms. Bacs from Wage Works; correct?
       16                        MR. BLUMENFELD:     Objection.
       17           A.    Can you restate the question.
       18    BY MS. HEYSTEK:
       19           Q.    You would agree with me that these are the
       20    three pieces that were sent to Ms. Bacs after she
       21    had a qualify event?
       22                        MR. BLUMENFELD:     Objection.
       23           A.    I know that Susan Bacs was sent a COBRA
       24    election notice.       I would not summarize that as
       25    three pieces of information.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 34 of 124 PageID 733


                                                                       Page 34
        1    BY MS. HEYSTEK:
        2           Q.    Okay.   For Capital One's purposes, this is
        3    all one piece of information; is that what you're
        4    trying to say?
        5                       MR. BLUMENFELD:      Objection.
        6    BY MS. HEYSTEK:
        7           Q.    I don't want to put words in your mouth.
        8    But I mean, I want to talk about them separately for
        9    my own reasons because they have different groups of
       10    information.      But if you're trying to say that
       11    Capital One sends all of these things together to
       12    Ms. Bacs, I think we're on the same page.
       13                 So is that what you're trying to say?
       14           A.    Yeah, that's one election notice that
       15    includes that content.
       16           Q.    Okay.   Fair enough.
       17                 So the reason I separated it out is
       18    because I want to talk to them a little separately.
       19    But for the purposes of Topic 4 on the amended
       20    notice, we ask about the dates Plan Administrator
       21    sent these notices.
       22                 Am I right that the date it was sent was
       23    on or about December 4th, 2018, which is up here on
       24    the top right corner of Exhibit B?
       25           A.    Yes, on or about that date is my


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 35 of 124 PageID 734


                                                                       Page 35
        1    understanding.
        2           Q.    Okay.   And Capital One sent all three of
        3    these B, C and D that we already looked at, right?
        4                       MR. BLUMENFELD:      Objection.
        5           A.    Capital One didn't mail these out.
        6    BY MS. HEYSTEK:
        7           Q.    Wage Works sent them on behalf of
        8    Capital One, right?
        9                       MR. BLUMENFELD:      Objection.
       10           A.    That's my understanding.
       11    BY MS. HEYSTEK:
       12           Q.    Okay.   During that relevant period before
       13    February of 2020 is B, C and D the same notice that
       14    was sent to all the plan participants that had a
       15    qualifying event and were eligible for COBRA?
       16                       MR. BLUMENFELD:      Objection.
       17           A.    Well, the notices are actually tailored to
       18    even specific participant because there are personal
       19    pieces of information that are relevant based on the
       20    facts and circumstances regarding their particular
       21    termination including their dates and duration
       22    et cetera, and costs as well.
       23                 There are some pieces that's would be the
       24    same including, you know, many of the notices and
       25    disclosures.      So I wouldn't be able to say that


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 36 of 124 PageID 735


                                                                       Page 36
        1    everybody received the exact same notice.
        2    BY MS. HEYSTEK:
        3           Q.    Okay.    I'm glad you pointed that out.         So
        4    on Exhibit B, we see that it has her name on it,
        5    Susan Bacs, her address, it has the date
        6    December 4th, 2019 when they sent it, there's an
        7    account number, correct?        There's a date of the
        8    notice, a date of coverage loss, coverage start date
        9    of electing.      Right?    Do you see those things?
       10           A.    Yes.
       11           Q.    Okay.    And all of those things are
       12    personalized to Ms. Bacs, right?
       13           A.    Yes.
       14           Q.    And in fact the election deadline for
       15    February 5th, 2019, that's also personalized for
       16    her, right?
       17           A.    Yes.
       18           Q.    And in fact, at the bottom of -- on the
       19    third page of Exhibit B, it repeat the deadline here
       20    this these paragraph of February 5th, 2019.             Do you
       21    see that where my cursor is?
       22           A.    Yes.
       23           Q.    Okay.    So would it be fair to say you
       24    would agree with me that Exhibit B includes
       25    personalized information for each plan participant;


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 37 of 124 PageID 736


                                                                       Page 37
        1    is that right?
        2           A.    It does include some personalized
        3    information, but it also includes some other -- just
        4    general information as well that wouldn't write
        5    those paragraphs.       Some of these paragraphs here
        6    would be the same --
        7           Q.    Right, right.
        8           A.    -- the dates may vary, yeah, and other
        9    personal information, yeah.
       10           Q.    So just as a for instance, for the record,
       11    this bold paragraph up at the top, the first one,
       12    that's probably included on everybody's COBRA
       13    election notice, right?
       14           A.    Right.
       15           Q.    Okay.    So aside from the personalized
       16    information about her address and the dates that
       17    were computed by I assume Wage Works, the other rest
       18    of the information is the same as all of other
       19    information that's included on every other plan
       20    participants COBRA election coverage notice during
       21    the relevant period; correct?
       22                       MR. BLUMENFELD:      Objection.
       23           A.    I mean, her addresses were very -- I mean,
       24    so it's kind of hard for me to say, because there
       25    would have been a number of these notices sent,


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 38 of 124 PageID 737


                                                                       Page 38
        1    so...
        2    BY MS. HEYSTEK:
        3           Q.    Sure, I get that.      I'm saying you take out
        4    the personalized information to Ms. Bacs, her
        5    address, the date of her notice, the date of her
        6    coverage loss, the date of her election deadline --
        7    all the other information is the same for the plan
        8    participants during the relevant period, right?
        9                       MR. BLUMENFELD:      Objection.
       10           A.    It's hard for me to say because, again,
       11    there could have been other formatting grammatical
       12    changes and I don't know if it would be word for
       13    word or, you know, paragraph by paragraph
       14    grammatically exactly the same.          Because there may
       15    have been some changes over the given time frame
       16    we're talking about.
       17    BY MS. HEYSTEK:
       18           Q.    Aside from grammatical changes, would
       19    there be any substantive changes?
       20                       MR. BLUMENFELD:      Objection.
       21           A.    I don't know.
       22    BY MS. HEYSTEK:
       23           Q.    Does Capital One keep track of any
       24    substantive changes that it makes to its COBRA
       25    election notice?       Like for instance, you were able


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 39 of 124 PageID 738


                                                                          Page 39
        1    to tell me about how they included the coverage end

        2    date starting February of 2022.        So clearly

        3    Capital One keeps track of some changes.           What is

        4    the criteria to determine which changes Capital One

        5    is going to keep track of?

        6                       MR. BLUMENFELD:    Objection.     And I think,

        7    Amanda, you said, "February of 2022," which I don't think

        8    was the Witness's testimony.

        9    BY MS. HEYSTEK:

       10          Q.   What was it, 2021, Ms. Miller?

       11          A.   It was February 2020.

       12          Q.   February 2020.     Okay.    My apologies.     I

       13    meant February of 2020.

       14               Do you want me repeat the question?

       15          A.   Yes, please.

       16          Q.   Okay.     So what criteria does Capital One

       17    use to determine what changes it's going to keep

       18    track of to its COBRA election notice?

       19                       MR. BLUMENFELD:    Objection.

       20          A.   I don't -- I don't know that there is a

       21    defined criteria.

       22    BY MS. HEYSTEK:

       23          Q.   Okay.     Well, were there any changes that

       24    you were aware of that actually changed the

       25    substance of this form during the relevant period?


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 40 of 124 PageID 739


                                                                       Page 40
        1                        MR. BLUMENFELD:     Objection.
        2           A.    I don't know.
        3    BY MS. HEYSTEK:
        4           Q.    Let's look at Exhibit C while we're here.
        5    This is the COBRA Coverage Election Form.            And this
        6    is part of the one piece of information that Capital
        7    One sent out through Wage Works.          But this has
        8    personalized information to Ms. Bacs.            Would you
        9    agree with me?
       10           A.    Yes.
       11           Q.    Okay.    And then just for comparison sake,
       12    let's look at Exhibit D which starts with,
       13    "Important Information COBRA Coverage Rights and
       14    Other Health Coverage Alternatives."           This is 12
       15    pages that came in her notice.
       16                 Are you familiar with this?
       17                        MR. BLUMENFELD:     Objection.
       18           A.    I know that there are standard parts of
       19    the COBRA election notice that include these
       20    disclosures and other disclosure and subsequent
       21    pages.
       22    BY MS. HEYSTEK:
       23           Q.    Okay.    This is -- for the record, this is
       24    what's been produced to us from Defendant and it's
       25    Bates No. 33 through 43.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 41 of 124 PageID 740


                                                                       Page 41
        1                 Ms. Miller, do you have any reason to
        2    believe that this is not the notice that was sent
        3    to -- part of the notice that was sent to Ms. Bacs?
        4           A.    I have no idea if Ms. Bacs produced this,
        5    whether or not this is in whole or in part the
        6    notice that would have been provided to her.
        7           Q.    Capital One produced this.
        8           A.    Okay.   Sorry.    My misunderstanding.
        9                 If this is what we had provided then, yes,
       10    I would suggest that that would be what was sent to
       11    her.
       12           Q.    Okay.   Thank you.     The only thing I want
       13    to point out on this, for what I've marked as
       14    Exhibit D, which is Bates Nos. 33 to 43, there is no
       15    personalized information in this part of the notice
       16    that was sent to Ms. Bacs.         Right?    There's no
       17    calculation of any specific date that has to do with
       18    her employment.      Would you agree with me?
       19                       MR. BLUMENFELD:      Objection.
       20           A.    I mean, I view this again, like I stated
       21    earlier, is one comprehensive document that is
       22    provided and was provided to Ms. Bacs.
       23    BY MS. HEYSTEK:
       24           Q.    And I appreciate that information.          I'm
       25    just saying from Page -- Bates No. 33 to


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 42 of 124 PageID 741


                                                                       Page 42
        1    Bates No. 43, there is no personalized information
        2    that Wage Works inserts into this form for Ms. Bacs.
        3    Is that right?
        4                       MR. BLUMENFELD:      Objection.
        5           A.    Not that I'm aware of.
        6    BY MS. HEYSTEK:
        7           Q.    All right.     And would it be true that for
        8    this part of the form that Wage Works sends out on
        9    behalf of Capital One, there is no personalized
       10    information for any other plan participant during
       11    the relevant period?
       12                       MR. BLUMENFELD:      Objection.
       13           A.    Again, I know that there would have been a
       14    number of notices sent.        I can't tell you whether or
       15    not there was any personal information in other
       16    notices or not.
       17    BY MS. HEYSTEK:
       18           Q.    I certainly appreciate that.         Again, I'm
       19    not trying to do a memory contest here.            But you
       20    were able to tell me about certain changes, and
       21    specifically one change that happened in February of
       22    2020.    So are you saying that there are changes to
       23    this part of the notice during the relative period
       24    that you're just not aware of?
       25           A.    I don't know if there were changes or not.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 43 of 124 PageID 742


                                                                       Page 43
        1           Q.    If there were changes, though, Capital One
        2    would know about it, right?
        3                       MR. BLUMENFELD:      Objection.
        4           A.    I don't know.
        5    BY MS. HEYSTEK:
        6           Q.    So Wage Works could change it's form
        7    without notifying Capital One?
        8           A.    I think it's as I previously shared, there
        9    could be some changes that they could make, you
       10    know, grammatical formatting, et cetera.            And so I'm
       11    not able to say whether or not there were changes
       12    made to this section of the notice or not.
       13           Q.    If there were grammatical or formatting
       14    changes that don't change the content of the notice,
       15    would Wage Works have to tell Capital One?
       16                       MR. BLUMENFELD:      Objection.
       17           A.    I don't know.
       18    BY MS. HEYSTEK:
       19           Q.    As the director of HR, if Wage Works was
       20    changing a notice that was being sent out on behalf
       21    of Capital one to plan participants, would you
       22    expect to be notified if the change -- if the change
       23    effects the substance of the notice?
       24                       MR. BLUMENFELD:      Objection.
       25           A.    Can you restate the question.         I'm sorry.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 44 of 124 PageID 743


                                                                       Page 44
        1                      MS. HEYSTEK:   Madam Court Reporter, could

        2    you read that back to her?

        3               (Last question was read back.)

        4    BY MS. HEYSTEK:

        5          Q.   That's okay.     I'll rephrase it.     I believe

        6    it was as the director of HR, if Wage Works changed

        7    the COBRA notice in a substantive way, more than

        8    just grammatical or formatting, you would expect to

        9    be notified of that, right?

       10                      MR. BLUMENFELD:    Objection.

       11          A.   I don't know that what I expect would be

       12    particularly relevant in this case in what may have

       13    transpired over that time period.

       14    BY MS. HEYSTEK:

       15          Q.   Have you been notified in the past when

       16    Wage Works has made substantive changes to its COBRA

       17    notice?

       18          A.   I don't know.

       19          Q.   Why don't you know?

       20                      MR. BLUMENFELD:    Objection.

       21    BY MS. HEYSTEK:

       22          Q.   Are you reading something, Ms. Miller?

       23          A.   No.    I'm looking at the notice that's up

       24    on the screen here.     It says, "Additional notice

       25    procedures for a notice for a second qualifying


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 45 of 124 PageID 744


                                                                       Page 45
        1    event," on the screen.
        2                 What I'm thinking through is, you're
        3    asking me why don't I know.         And there are a number
        4    of changes that could have occurred to these
        5    notices, and so that's what I'm kind of
        6    contemplating in my mind.         Like, you know, keeping
        7    up with all of those, I don't know that we would
        8    have been made aware of all of the changes
        9    throughout the years.
       10           Q.    But you as a HR director, you have emails,
       11    right?      You have an email with Capital One?
       12           A.    Yes.
       13           Q.    And you could probably search your emails
       14    for search terms, like, "Wage Works, change, COBRA
       15    notice," for instance, right?
       16           A.    Yes.
       17           Q.    So as you're sitting here today, while you
       18    say you don't know, you could easily ascertain that
       19    information if Capital One has ever been notified by
       20    a change by Wage Works to its COBRA notice, right?
       21                        MR. BLUMENFELD:     Objection.
       22           A.    I don't think, I -- sorry, Jeremy.
       23                        MR. BLUMENFELD:     That's okay.     You can
       24    answer.
       25           A.    I don't think I could necessary ascertain


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 46 of 124 PageID 745


                                                                       Page 46
        1    that, because I may or may not have been included in
        2    a change notice.
        3    BY MS. HEYSTEK:
        4           Q.    No, I'm asking you could easily ascertain
        5    your emails, from Julie Miller's emails by searching
        6    for those terms to find out if you were ever
        7    notified of any change; correct?
        8                       MR. BLUMENFELD:      Objection.
        9           A.    I think, Amanda, what I'm struggling with
       10    is, if I was notified I could search my emails.              I
       11    don't know that I was notified, so that's what I'm
       12    not clear on what your question is asking.
       13    BY MS. HEYSTEK:
       14           Q.    You wouldn't know if you were notified
       15    until you did the search, though.           So you said you
       16    could do the search, that's what I was looking for.
       17    You can easily search your emails; correct?
       18           A.    I can search my emails on key terms, yes.
       19           Q.    Okay.   Now I'm going show you what's been
       20    premarked as Exhibit E.        This is the first three
       21    pages of the notice that was sent to Jessica Roubert
       22    by Wage Works on behalf of Capital One.
       23                 (Exhibit E was marked for identification.)
       24    BY MS. HEYSTEK:
       25           Q.    And we were talking about Topic 4 and the


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 47 of 124 PageID 746


                                                                       Page 47
        1    dates.      This date up at the top, November 7th, 2018.
        2    Is that when this notice was sent to Ms. Roubert?
        3           A.    On or about, yeah.
        4           Q.    No reason to think it was sent a month
        5    later or anything like that, right?
        6           A.    No, not to my knowledge.
        7           Q.    Okay.    And then same thing for Exhibit E,
        8    which is Bates No. Defendant 73 through 75.             This
        9    also contains personalized information from
       10    Ms. Roubert; correct?
       11           A.    Yes.
       12           Q.    Okay.    It has her name and it has the date
       13    of termination and the election deadline of
       14    January 9th, 2019; right?
       15           A.    Yes.
       16           Q.    And that January 9th, 2019 election
       17    deadline is repeated down here on Page --
       18    Bates No. 75 in these two paragraphs -- or in this
       19    last paragraph here.        Do you see that?
       20           A.    Yes.    In the last two paragraphs, yes.
       21           Q.    So Wage Works -- am I correct that Wage
       22    Works computates the election deadline and then
       23    inserts that into this paragraph?
       24           A.    That my understanding, yes.
       25           Q.    So it's always capable of calculating


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 48 of 124 PageID 747


                                                                       Page 48
        1    dates based on the date of notice or the date of
        2    termination, whatever the case might be, right?
        3                       MR. BLUMENFELD:      Objection.
        4           A.    I don't know whether or not they're always
        5    able to do so.       It appears that they did that in
        6    this case, yes.
        7    BY MS. HEYSTEK:
        8           Q.    All right.     And I'm going to put Exhibit E
        9    up side-by-side with Exhibit D, which is Ms. Bacs'
       10    first three pages of her notice.          It might be a
       11    little bit difficult to see, so you tell me if you
       12    have any problems with that.
       13                 But it looks like these two first three
       14    pages for their notices are exactly the same with
       15    the exception of their personalized information for
       16    address, dates of employment, account numbers.
       17    Would you agree with me?
       18                       MR. BLUMENFELD:      Objection.
       19           A.    It is very hard to see.        It is small and
       20    so, you know, I have not compared, I can't read line
       21    by line and compare them exactly.
       22    BY MS. HEYSTEK:
       23           Q.    Okay.   Would you agree with me that first
       24    paragraph, that's bold, is exactly the same?
       25           A.    Can you make them both a little bit


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 49 of 124 PageID 748


                                                                       Page 49
        1    bigger?   I'm sorry, I can't really read them on my

        2    screen.

        3         Q.    Sure.   There's the first paragraph from

        4    Ms. Roubert.   Can you read that?

        5         A.    Yes.

        6         Q.    Okay.   Is it exactly the same as this

        7    first bold paragraph on Ms. Bacs?

        8                      MR. BLUMENFELD:   Amanda, is there a way for

        9    you to put one above the other so that she can see them at

       10    the same time?

       11                      MS. HEYSTEK:   Yeah.

       12    BY MS. HEYSTEK:

       13         Q.    How is that?

       14         A.    Good.   Thank you.

       15         Q.    You've read them before today, right?

       16         A.    Yes, but I'm just comparing the two to

       17    answer your question.

       18         Q.    Uh-huh, take your time.

       19         A.    Yes, they appear to be the same.

       20                      MS. HEYSTEK:   And then Exhibit F is

       21    premarked, I'll enter that.

       22               (Exhibit F was marked for identification.)

       23    BY MS. HEYSTEK:

       24         Q.    I'll represent to you this is the COBRA

       25    coverage election form that was given to us by




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 50 of 124 PageID 749


                                                                       Page 50
        1    Capital One for Jessica Roubert and this has her
        2    personalized information on it; correct?
        3           A.    Right.
        4           Q.    All right.     And I'm showing you Exhibit G,
        5    which is the 12 pages that end the COBRA notice that
        6    was sent to Jessica Roubert.         And this is the
        7    "Important Information:        COBRA Coverage Rights and
        8    Other Health Coverage Alternatives," and it goes
        9    from Bates No. Defendant 78 through 88.
       10                 (Exhibit G was marked for identification.)
       11    BY MS. HEYSTEK:
       12           Q.    And would you agree with me, Ms. Miller,
       13    that it's exactly the same as the exhibit that I
       14    showed you that was not personalized to Ms. Bacs?
       15                       MR. BLUMENFELD:      Objection.
       16           A.    Again, without comparing them I can't say
       17    whether or not they're exactly the same.
       18    BY MS. HEYSTEK:
       19           Q.    And you would agree with me that there is
       20    no personalized information of Jessica Roubert on
       21    Exhibit G, those 12 pages?
       22                       MR. BLUMENFELD:      Objection.
       23           A.    Again, this is part of the notice that is
       24    personalized for her and mailed to her as a part of
       25    her COBRA election, so...


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 51 of 124 PageID 750


                                                                       Page 51
        1    BY MS. HEYSTEK:
        2           Q.    I understand that.      I'm just asking on
        3    these pages, these 12 pages, there is no
        4    personalized information directly to Ms. Roubert, is
        5    there?
        6           A.    I'm not aware of any.
        7           Q.    And now let's go to Topic 5, which is,
        8    "The number of participants and beneficiaries in
        9    Defendant's health plan who experienced a qualifying
       10    event and were sent continuing coverage election
       11    notice during the applicable statute of limitations
       12    period, but did not elect COBRA continuation
       13    coverage."
       14                 Again, your counsel has stated the
       15    relevant period that they're responding to as
       16    December 7th, 2017 to December 7th, 2021.
       17                 Do you know the number of those
       18    participants that received a COBRA election notice
       19    and did not elect COBRA continuation coverage during
       20    that time?
       21                       MR. BLUMENFELD:      Objection.
       22           A.    I understand that number is around 53,000.
       23    BY MS. HEYSTEK:
       24           Q.    That's 53,000 people that received a COBRA
       25    election notice from December 2017 to December 2021;


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 52 of 124 PageID 751


                                                                       Page 52
        1    I'm hearing you right?
        2           A.    Yes.
        3           Q.    Of those do you know how many did not
        4    elect COBRA coverage?
        5           A.    I'm sorry.     Can you restate the question.
        6    I think I maybe misunderstood.
        7           Q.    How many plan participants got a COBRA
        8    election notice from December 2017 to December of
        9    2021?
       10           A.    I'm sorry.     It's about 65,000.
       11           Q.    65,000?
       12           A.    Yes.
       13           Q.    All right.     When you gave me the 53,000,
       14    what number was that?
       15           A.    That's the number that did not elect.
       16           Q.    Okay.    So total notice is 65,000, those
       17    that did not elect is 53,000; right?
       18           A.    Yes.
       19           Q.    Okay.    And where did you get those numbers
       20    from?    Is it Capital One's data?
       21           A.    No.
       22           Q.    Whose data is that?
       23           A.    That information was provided by Health
       24    Equity.
       25           Q.    Does that include both the employee plus


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 53 of 124 PageID 752


                                                                        Page 53
        1    their dependents?

        2           A.   Yes.

        3           Q.   Do you know the number for just the

        4    employees -- or former employees, I guess I should

        5    say.

        6           A.   I don't know the number exactly.     I think

        7    it's in the high 20,000s, give or take, but I don't

        8    know the exact number.

        9           Q.   So I'm going show you what's been

       10    premarked as Exhibit I which is Capital One's

       11    responses to our interrogatories.

       12                Are you familiar with this document?

       13           A.   Yes.

       14                       MS. HEYSTEK:   All right.   Let's enter that.

       15                (Exhibit I was marked for identification.)

       16    BY MS. HEYSTEK:

       17           Q.   And I'm going to show you -- just one

       18    specific question.     Here we go.   I want to try to

       19    get it all on one page, but there's an objection.

       20                So for Interrogatory No. 1 we asked for

       21    the number of participants and beneficiaries in the

       22    Defendant's health plan who were sent a COBRA notice

       23    during the class period as a result of the

       24    qualifying event who did not elect continuation

       25    coverage.




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 54 of 124 PageID 753


                                                                       Page 54
        1                 And the answer is right here at the bottom
        2    we were told, "28,763 COBRA notices to plan
        3    participants who did not elect COBRA went out
        4    between December of 2017 to December of 2021.
        5                 Is that the high 20-number that you were
        6    talking about?
        7           A.    Yes, I believe it is.       Again, I don't know
        8    that exact number off the top of my head.            So if
        9    that's what we had provided...
       10           Q.    Okay.    So am I right that Capital One can
       11    identify who was given a notice, first of all,
       12    during any date range; is that right?
       13           A.    We would need the help of Health Equity to
       14    produce that number.
       15           Q.    Okay.    Capital One, together with its
       16    resources of Health Equity, could determine how many
       17    people received a COBRA election notice between any
       18    date range, right?
       19           A.    Yes.
       20           Q.    And then Capital One with its resources
       21    through Health Equity/Wage Works could determine out
       22    of those individuals who elected COBRA and who did
       23    not, right?
       24           A.    Yes.
       25           Q.    And Capital One together with its


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 55 of 124 PageID 754


                                                                       Page 55
        1    resources through Wage Works/Health Equity could

        2    determine the last mailing address for those

        3    individuals, right?

        4            A.    Yes.

        5            Q.    And I'm going show you what's been

        6    premarked as Exhibit O, which is Defendant's

        7    responses to our request for admission.

        8                  Are you familiar with this document?

        9            A.    Yes.

       10                         MR. BLUMENFELD:   Hey, Amanda, when we get

       11    to a good place, can we take a break?

       12                         MS. HEYSTEK:   Yeah, let me just ask one

       13    question on this one.        I don't have a lot of questions on

       14    this.

       15    BY MS. HEYSTEK:

       16            Q.    So for a No. 4 we asked the Defendant to

       17    admit that the attached document, Exhibit A, which

       18    was Susan Bacs's COBRA notice, all three pieces that

       19    I've pointed out to you, B, C, and D, that we've

       20    looked at already, that it was utilized by

       21    Defendant -- that it was the form COBRA notice that

       22    was utilized by Defendant during the relevant time

       23    period.      And that was denied.

       24                  Can you tell me why that was denied?

       25                         MR. BLUMENFELD:   Objection.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 56 of 124 PageID 755


                                                                       Page 56
        1          A.     I'm sorry.   Can you scroll up so I can the

        2    request again?

        3                      MS. HEYSTEK:   Absolutely.

        4                      MR. BLUMENFELD:    Amanda, I'm not

        5    instructing you not to -- I'm not instructing the witness

        6    not to answer.     But I don't think this is one of the

        7    topics.    And I know you've done that before, but I just

        8    want to flag that.

        9                      MS. HEYSTEK:   I'm just looking to know if

       10    she knows why it wasn't the form notice.

       11          A.     It seems to me that, that's probably

       12    something like legal terms that I don't think I'm in

       13    the best position to address.

       14                      MS. HEYSTEK:   All right.    Let's enter

       15    Exhibit O.     And if you want, let's take a five-minute

       16    break, you said?

       17                      MR. BLUMENFELD:    Sure.

       18                 (Exhibit O was marked for identification.)

       19                 (A brief recess was held.)

       20    BY MS. HEYSTEK:

       21          Q.     Ms. Miller, thank you for coming back.       I

       22    have a couple questions before we move onto the next

       23    topic.

       24                 Just one, was Capital One ever notified of

       25    any other changes to the COBRA notice regarding the


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 57 of 124 PageID 756


                                                                       Page 57
        1    personalized information that goes into it, such as
        2    the coverage end date?
        3                        MR. BLUMENFELD:     Objection.
        4           A.    I don't know.
        5    BY MS. HEYSTEK:
        6           Q.    And of the 28,763 people that we looked at
        7    a minute ago, can you tell me how many of those
        8    received the COBRA election notice after that change
        9    in February of 2020?
       10           A.    No.
       11           Q.    Can Capital One determine that number with
       12    the help of Wage Works?
       13           A.    Yes.
       14           Q.    All right.     Moving onto Topic 6.       "The
       15    content of the COBRA notices provided to
       16    participants and beneficiaries in the health plan
       17    during the applicable statute of limitations
       18    period."
       19                 That's -- we've already decided that the
       20    four year relevant period is that December of 2017
       21    to December of 2021.
       22                 So during that period, aside from the
       23    personalized change for the coverage end date in
       24    February of 2022, would it be true that everyone got
       25    the same form when it comes to that generic


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 58 of 124 PageID 757


                                                                       Page 58
        1    information in twelve pages that's not personalized?

        2                        MR. BLUMENFELD:   Objection to form.    And,

        3    Amanda, you said, "February of '22."

        4                        MS. HEYSTEK:   I keep saying that, I don't

        5    know why.    You know what, just when I say, "February," I

        6    mean, "2020," that change in February.

        7    BY MS. HEYSTEK:

        8          Q.    So can you tell us, like for that relevant

        9    period, December of 2017 to December of 2021,

       10    everyone got that same generic piece of information,

       11    that twelve pages that we looked at with Ms. Bacs

       12    and Ms. Roubert; right?

       13                        MR. BLUMENFELD:   Objection.

       14          A.    Again, without comparing it's really hard

       15    for me to say that they got the exact same piece of

       16    information.

       17    BY MS. HEYSTEK:

       18          Q.    Okay.     Substantially similar?

       19          A.    I don't know.

       20          Q.    Were there any personalized pieces that

       21    were placed into those twelve pages during that time

       22    frame?

       23          A.    I don't know.

       24          Q.    So the only change that you're aware of as

       25    we sit here today to the COBRA election notice form,


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 59 of 124 PageID 758


                                                                       Page 59
        1    to the personalized information, is that change in
        2    February of 2020 for the coverage end date; right?
        3                       MR. BLUMENFELD:      Objection.
        4           A.    When you say, "Personalized change," like
        5    what --
        6    BY MS. HEYSTEK:
        7           Q.    The personalized information that we
        8    looked at before.       I'm not trying to be funny with
        9    the word.     The personalized information is her name,
       10    her address, the date of the employment, the date of
       11    the notice, the calculations for the election date.
       12    That's the personalized information that gets
       13    inserted into the template form by Wage Works;
       14    correct?
       15                       MR. BLUMENFELD:      Objection.
       16           A.    Yeah, I don't know that there were any
       17    changes or additions of personalized information
       18    during that time frame or not.
       19    BY MS. HEYSTEK:
       20           Q.    Okay.    Well, you do know of one change,
       21    you told me about it, February 2020; right?
       22           A.    Right.
       23           Q.    Okay.    Did you know of any other changes
       24    to the personalized information that gets inserted
       25    into the COBRA election notice during that time


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 60 of 124 PageID 759


                                                                       Page 60
        1    period?
        2           A.    No, I'm not aware of any.
        3           Q.    Okay.    All right.    Let me share my screen
        4    again.      And I'm going to show you what's been
        5    premarked as Exhibit L.        And this is an order from a
        6    previous case of ours, Valdivieso v.
        7    Cushman&Wakefield.
        8                 Have you ever seen this document before?
        9           A.    I don't think so.
       10           Q.    I am going to scroll down to Page 3 of
       11    this order where it states that, "Although the
       12    18-month language satisfies the requirement that an
       13    employer include an explanation of the maximum
       14    period for which continuation coverage will be
       15    available, the regulation's inclusion of the phrase
       16    termination date suggest that the employer must
       17    identify the day on which coverage ends."
       18                 Do you see that sentence there?
       19                        MR. BLUMENFELD:     Objection.
       20           A.    Yes.
       21    BY MS. HEYSTEK:
       22           Q.    All right.     And you've never been made
       23    aware of this order prior to today?
       24                        MR. BLUMENFELD:     Objection.
       25           A.    I'm not familiar with this.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 61 of 124 PageID 760


                                                                       Page 61
        1    BY MS. HEYSTEK:

        2         Q.    Has Capital One known that there were

        3    lawsuits regarding COBRA notices that did not

        4    include the coverage end date?

        5                    MR. BLUMENFELD:    Objection.

        6         A.    I don't know.

        7                    MS. HEYSTEK:    Let's Enter Exhibit L.

        8               (Exhibit L was marked for identification.)

        9    BY MS. HEYSTEK:

       10         Q.    And now I'm going to show you what's been

       11    premarked as Exhibit S.     And this is the DOL Model,

       12    Department of Labor's Model COBRA Continuing

       13    Coverage Election Notice.

       14               Do you see that?

       15                    MR. BLUMENFELD:    Amanda, before you go into

       16    that.   The first page of that document, I think, said that

       17    it was "Exhibit A."

       18                    MS. HEYSTEK:    That was Exhibit A to the

       19    original complaint before it was amended.

       20                    MR. BLUMENFELD:    Okay.   This is Exhibit S

       21    for the deposition, but the first page of it is

       22    "Exhibit A" that was attached to the original complaint in

       23    this case?

       24                    MS. HEYSTEK:    Yes, you can see right here

       25    at the top of Page 2, it has a case number and the




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 62 of 124 PageID 761


                                                                       Page 62
        1    Document 1-1 Filed December 7th of December 2021.

        2                       MR. BLUMENFELD:   Got it.

        3    BY MS. HEYSTEK:

        4          Q.   Do you see that, Ms. Miller?

        5          A.   Yes.

        6          Q.   Okay.     So this "Model COBRA Continuation

        7    Coverage Election Notice," have you seen this

        8    document before today?

        9          A.   You're -- this document or the model

       10    election notice?

       11          Q.   Have you seen the model election notice

       12    before today?

       13          A.   Yes.

       14          Q.   Okay.     And have you seen this document

       15    before today?

       16          A.   This document?     This page up in front of

       17    me or --

       18          Q.   Yes.

       19          A.   This exhibit?

       20          Q.   Yes.

       21                       MR. BLUMENFELD:   I think she was asking an

       22    either/or question.

       23          A.   Yes.

       24    BY MS. HEYSTEK:

       25          Q.   This document that I have on my screen,


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 63 of 124 PageID 762


                                                                       Page 63
        1    have you seen it before today?

        2                         MR. BLUMENFELD:    Meaning, Julie, have you

        3    seen what was attached to the complaint in this case as

        4    Exhibit A when the complaint was filed.

        5                         MS. HEYSTEK:   I'll rephrase if I need to,

        6    but thanks.

        7    BY MS. HEYSTEK:

        8          Q.     Have you seen this document before today,

        9    Ms. Miller?

       10          A.     I have not.     I haven't seen the exhibit

       11    submitted.

       12          Q.     Okay.     You did read the amended complaint,

       13    though, right?

       14          A.     I have read the interrogatories and our

       15    responses and our objections.          I don't think I had

       16    seen the amended complaint.

       17          Q.     Okay.     All right.   But you're familiar

       18    with Department of Labor's Model Notice for COBRA

       19    Election, right?

       20                         MR. BLUMENFELD:    Objection.

       21    BY MS. HEYSTEK:

       22          Q.     You're the HR director, are you not?

       23          A.     Yes.

       24          Q.     And part of your job involves being

       25    familiar with COBRA; correct?


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 64 of 124 PageID 763


                                                                       Page 64
        1           A.    Yes.
        2           Q.    And being familiar with COBRA requires you
        3    to be familiar with Department of Labor's Model
        4    Notice for COBRA Election; correct?
        5                        MR. BLUMENFELD:     Objection.
        6           A.    Can you rephrase the question or restate
        7    the question.
        8    BY MS. HEYSTEK:
        9           Q.    Part of your job of being familiar with
       10    COBRA requires you to be familiar with the
       11    Department of Labor's Model Notice for COBRA
       12    Election?
       13                        MR. BLUMENFELD:     Objection.
       14           A.    I think part of my job is to be familiar
       15    with the applicable, you know, environment and some
       16    of that would include some of what is required and
       17    that would include the model notice.
       18    BY MS. HEYSTEK:
       19           Q.    Excellent.     Okay.
       20                 So here on Page 2 of this model notice, do
       21    you see this part where it says, "If elected COBRA
       22    continuation coverage will begin on," and then it
       23    has brackets and says, "Enter date," in italics.
       24    And then it says, "And can last until," and then it
       25    has brackets and then italics that says, "Enter


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 65 of 124 PageID 764


                                                                       Page 65
        1    date."

        2                Do you see that?

        3           A.   I do.

        4           Q.   Okay.     So would you agree with me that the

        5    DOL model notice for COBRA election includes the

        6    actual calculated date for when COBRA coverage would

        7    end?

        8                        MR. BLUMENFELD:   Objection.

        9           A.   I see the sentence on the screen.       But my

       10    understanding is that the model notice is more of a

       11    suggested notice, it's not something that you would

       12    take necessarily word for word as long as you have

       13    the relevant points represented in the notice that's

       14    provided.

       15    BY MS. HEYSTEK:

       16           Q.   Okay.     And you would agree with me that

       17    that order that we just looked at in

       18    Exhibit L directly contradicts what you just said,

       19    because it says you should --

       20                        MR. BLUMENFELD:   Objection, calls for a

       21    legal conclusion.       Outside the scope of the 30(b)(6)

       22    notice and inappropriate for a lot of other ways as well.

       23    BY MS. HEYSTEK:

       24           Q.   Do you want to read the order again,

       25    Ms. Miller?


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 66 of 124 PageID 765


                                                                       Page 66
        1                      MR. BLUMENFELD:    Amanda, it is

        2    inappropriate to ask a witness about a ruling on a

        3    Rule 12(b)(6) motion and what the implications are.          This

        4    is a fact deposition of a fact witness.        It is completely

        5    inappropriate to show a court order and then make

        6    suggestions about what that means and how it is contrary

        7    to what the witness has testified.

        8                      If you want to ask the witness

        9    questions, go ahead.     But I would not ask the

       10    witness to interpret what court opinions say or mean

       11    or the implications.

       12                      MS. HEYSTEK:   Thanks for your speaking

       13    objection.     You can refrain from that.

       14    BY MS. HEYSTEK:

       15          Q.     Ms. Miller, would you agree with me that

       16    the COBRA election notice that Capital One sent to

       17    Ms. Bacs and Ms. Roubert did not include the

       18    coverage end date?

       19                      MR. BLUMENFELD:    Objection.

       20          A.     The notice that was provided to both of

       21    them instructed them that the coverage could --

       22    would generally last 18 months, but there would be

       23    circumstances where it could be shorter or longer.

       24    And we also included the effective date of the

       25    coverage, so that they were able to understand what


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 67 of 124 PageID 766


                                                                       Page 67
        1    that end date would be.     And, again, if there were

        2    extenuating circumstances it could be shorter or

        3    longer.

        4         Q.    And this part right here, in the DOL model

        5    notice, where it says, "And can last until," and

        6    then it has the brackets and then it says, "Enter

        7    date."    That is not written on the notice for

        8    Ms. Bacs; correct?

        9         A.    My understanding is, is it's not required

       10    to have been written.    This is part of the model

       11    notice which are suggestions, so we did disclose the

       12    18 months.

       13               But to answer your question, there is not

       14    a specific end date that I have seen on the notices

       15    that were provided to them.

       16         Q.    To Ms. Bacs or Ms. Roubert; correct?

       17               I just want to be clear when, you said,

       18    "Them," you meant Ms. Bacs and Ms. Roubert; correct?

       19         A.    Correct.

       20         Q.    Okay.   Do you know if that was provided to

       21    any other plan participant of the 28,763 people that

       22    received the COBRA election notice during the

       23    relevant period?

       24                    MR. BLUMENFELD:    Objection -- sorry, what

       25    was provided to any of the other 28,000-some-participants?




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 68 of 124 PageID 767


                                                                       Page 68
        1                      MS. HEYSTEK:   The very thing that we just

        2    talked about.     Madam court reporter, could you repeat the

        3    question to them.

        4                (A brief discussion was held off the

        5    record.)

        6                      MS. HEYSTEK:   I'll restate the question.

        7    BY MS. HEYSTEK:

        8          Q.    Out of the 28,763 people that received a

        9    COBRA election notice during the relevant period as

       10    defined by your counsel for today, how many of them

       11    had the date calculated for their coverage end date

       12    included in their notice?

       13                      MR. BLUMENFELD:    Objection, asked and

       14    answered.

       15          A.    Yeah, I thought we had covered that a

       16    little while ago where I said that I didn't know.

       17    BY MS. HEYSTEK:

       18          Q.    How about this, prior to February of 2020,

       19    the COBRA election notices that were sent by

       20    Wage Works on behalf of Capital One also omitted the

       21    COBRA coverage end date, just as it did in

       22    Ms. Bacs's and Ms. Roubert's notice, right?

       23                      MR. BLUMENFELD:    Objection.

       24          A.    Again, it included the 18-month duration

       25    of the coverage.     And, again, it could be shorter or


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 69 of 124 PageID 768


                                                                       Page 69
        1    longer, but the specific date, no, was likely not
        2    there.      I hadn't read all of those, so I haven't
        3    seen those specific notices.
        4    BY MS. HEYSTEK:
        5           Q.    Would you agree with me that you probably
        6    wouldn't need to change it if it was in there?
        7                       MR. BLUMENFELD:      Objection.
        8           A.    I'm sorry.     I don't understand.      Can you
        9    restate that?
       10    BY MS. HEYSTEK:
       11           Q.    Sure.   The change speaks for itself.          The
       12    change was made to include it because it wasn't
       13    included before; correct?
       14                       MR. BLUMENFELD:      Objection.
       15           A.    I don't know why the change was made.
       16    BY MS. HEYSTEK:
       17           Q.    Topic 7 is, "The process Defendant
       18    utilized to send COBRA notices out to participants
       19    and beneficiaries in Defendant's Health Plan during
       20    the applicable statute of limitations."
       21                 Your counsel has defined the relevant
       22    period as that December 2017 to December of 2021.
       23    We already kind of talked about Wage Works and
       24    Health Equity and their process.          Tell me a little
       25    bit, if at all, what role does Anthem play in that?


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 70 of 124 PageID 769


                                                                       Page 70
        1                       MR. BLUMENFELD:      Objection.
        2           A.    When you say, "The process of getting the
        3    notices out," are you referring back to the
        4    conversation we had earlier that about how the data
        5    feeds and then --
        6                       MS. HEYSTEK:     Yes.
        7           A.    So, again, in that process the data is
        8    going direct to Health Equity, but the Health Equity
        9    is a subcontractor of Anthem.
       10    BY MS. HEYSTEK:
       11           Q.    Okay.   Does Anthem or any of its people
       12    touch the data or does the data go from Capital One
       13    to Health Equity?
       14           A.    So once it gets to Health Equity, I don't
       15    know if Anthem's resources are accessing or looking
       16    at that, I don't know.
       17           Q.    Do you know if Anthem plays any role in
       18    developing or making changes to the COBRA election
       19    notice?
       20           A.    I don't know.
       21           Q.    Have you ever been involved in any
       22    meetings where Anthem's been there and you were
       23    discussing changes to the COBRA notice?
       24           A.    I have not.
       25           Q.    Have you been involved in any emails, that


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 71 of 124 PageID 770


                                                                       Page 71
        1    you can recall, where a discussion was being had
        2    between Anthem and Wage Works about changes to the
        3    COBRA notices?
        4           A.    I don't know off the top of my head.
        5           Q.    And during the period that we talked
        6    about, December 2017 to December of 2021, I think
        7    you told me earlier that the processes stayed the
        8    same, nothing has changed, right, other than that
        9    period where April 2022, but that's outside our
       10    relevant period, right?
       11           A.    Right.
       12           Q.    Okay.    Is there any formalized process
       13    that Capital One has taken to review the COBRA
       14    election notices?
       15                       MR. BLUMENFELD:      Objection.
       16           A.    I don't know.
       17    BY MS. HEYSTEK:
       18           Q.    Aside from just random emails and
       19    discussion about it, there's no formal -- let me
       20    give you an example.        Maintenance for a vehicle, it
       21    has a maintenance schedule, right?           You change your
       22    oil every three months, every so many miles or what
       23    have you.     Is there any formal process that Capital
       24    One uses to review its COBRA election notices for
       25    compliance?


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 72 of 124 PageID 771


                                                                       Page 72
        1                       MR. BLUMENFELD:    Objection.

        2          A.    I don't know.

        3    BY MS. HEYSTEK:

        4          Q.    Is it all pretty much ad hoc?

        5                       MR. BLUMENFELD:    Objection.

        6          A.    I don't know.

        7                       MS. HEYSTEK:    If I didn't enter S, let's

        8    enter Exhibit S, mark that.

        9                (Exhibit S was marked for identification.)

       10    BY MS. HEYSTEK:

       11          Q.    Let me start with next -- I am showing you

       12    now what's been premarked as Exhibit P.          This is the

       13    "Confidential:      Health and Welfare Plan Process and

       14    Controls Overview Narrative Document."

       15                (Exhibit P was marked for identification.)

       16    BY MS. HEYSTEK:

       17          Q.    Are you familiar with this?

       18          A.    Yes.

       19          Q.    Okay.    And what does this document do?

       20          A.    It's a high-level overview of the health

       21    and welfare processes and services.

       22          Q.    Okay.    Topic 8, was, "The COBRA notice

       23    forms utilized by the Defendant during the

       24    applicable statute of limitations period."

       25                Your counsel has defined it as the


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 73 of 124 PageID 772


                                                                       Page 73
        1    relevant period that we've discussed before.       And

        2    counsel says that this is duplicative of Topic 6, I

        3    don't think it is, but --

        4                    MR. BLUMENFELD:    Amanda, in Subject 8,

        5    that's the one you were just reading from; correct?

        6                    MS. HEYSTEK:    Yeah.

        7                    MR. BLUMENFELD:    Yeah, it -- you guys are

        8    the ones who said, "During the applicable statute of

        9    limitations period (four years preceding the filing of the

       10    complaint through the present.)"

       11                    MS. HEYSTEK:    Yeah, we're not arguing with

       12    you about the days.    We said it that way, you said

       13    December 2017 to December of 2021, which is four years,

       14    so...

       15                    MR. BLUMENFELD:    Okay.

       16                    MS. HEYSTEK:    We're in agreement on that.

       17                    MR. BLUMENFELD:    Okay.   I was responding,

       18    because you keep saying to the witness that we're the ones

       19    who defined it that way.     And I think you guys defined it

       20    the same way in response to that one and some of the

       21    others.

       22                    MS. HEYSTEK:    Yeah, I was just referencing

       23    in Exhibit R, which is your response and objections to the

       24    notice, you just defined it by dates.      We just define it

       25    as four years prior to the date that the complaint was




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 74 of 124 PageID 773


                                                                        Page 74
        1    filed.     You specified the dates.      We're in agreement on

        2    what that is.

        3                      MR. BLUMENFELD:     Okay.

        4    BY MS. HEYSTEK:

        5          Q.    So for Topic No. 8, your counsel also says

        6    that it's duplicative of Topic No. 6.          I kind of

        7    don't think it is, but -- I want to know if Capital

        8    One was aware of any prior litigation involving

        9    COBRA notices used by Wage Works?

       10          A.    Not that I'm aware of.

       11                      MR. BLUMENFELD:     Objection.

       12    BY MS. HEYSTEK:

       13          Q.    And so we've kind of gone around this

       14    several different ways.       You've told me that you

       15    don't know all the changes that were made to the

       16    COBRA notice.     But outside of the personalized

       17    information, the only change you can tell me today

       18    as we sit here is the change about that coverage end

       19    date being added to it in February of 2020, right?

       20                      MR. BLUMENFELD:     Objection.

       21          A.    I know that, as I stated earlier, there

       22    are some changes that were a result of ARPA.           And

       23    I'm also aware that there had been over the years

       24    other changes, you know, grammatical things like

       25    that.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 75 of 124 PageID 774


                                                                       Page 75
        1    BY MS. HEYSTEK:
        2           Q.    When you say, "Things like that," what do
        3    you mean, like sort of non-substantive changes, just
        4    formatting?
        5                       MR. BLUMENFELD:      Objection.
        6           A.    You know, again, I don't know all of the
        7    changes that were made.        I know a handful of --
        8    those examples that I just provided, are the ones
        9    that I'm aware of.
       10    BY MS. HEYSTEK:
       11           Q.    Ms. Miller, would you agree with me that
       12    the COBRA notices we've looked at for Ms. Bacs and
       13    Ms. Roubert contain, what I would call sort of two
       14    sets of information, one is personalized information
       15    to them, including their dates of employment, date
       16    of termination, election deadline date, those types
       17    of personalized computations.
       18                 And then the other piece of information
       19    spread across those notices is the legal notice, so
       20    to speak, of what COBRA is and the generic
       21    information that's not personalized to them, right?
       22           A.    I mean, I view this all as one -- you
       23    know, as one election notice that is mailed to them.
       24    And so there is a lot of information that's
       25    available to them in these -- into the participant


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 76 of 124 PageID 775


                                                                       Page 76
        1    in the notices.
        2           Q.    I'm not -- I agree with you.         There's a
        3    lot there.
        4                 What I'm saying is, there's pieces that
        5    are inserted -- say you have a template.            And the
        6    template's going to be used for 28,000 people.              But
        7    in that template you have to address it to those
        8    people, so you're going to include personalized
        9    information, such as their address, their specific
       10    date of termination, their election date.            That's
       11    the personalized information, right?           Do you
       12    understand what I'm saying there?
       13           A.    Yes.
       14                        MR. BLUMENFELD:     Objection.
       15    BY MS. HEYSTEK:
       16           Q.    Okay.    And then the other information is
       17    the information that's not personalized to them, the
       18    statement of what COBRA is, the generally 18-months
       19    long information, right?        Do you understand what I'm
       20    saying there?
       21           A.    I do.    I guess I -- I understand what
       22    you're saying around -- you know, I guess, again, I
       23    just view this all as one notice, that all of the
       24    information is relevant to the recipient and should
       25    be taken as such.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 77 of 124 PageID 776


                                                                       Page 77
        1           Q.    Sure.    No argument there.      All relevant.
        2    I just want to be able to talk about this with you
        3    in a way that you and I can have the same lingo and
        4    understanding about what information I'm speaking to
        5    when I ask you questions.
        6                 So do you understand me when I say,
        7    "Personalized information," has to do with the
        8    individual participant, their date of employment,
        9    their election deadline, that information that gets
       10    computated, be specifically on that.           Do you
       11    understand that?
       12           A.    Yes.
       13           Q.    Okay.    And if say, "The non-personalized
       14    information," do you understand that I'm referring
       15    all the information that is not personal to them,
       16    their address, their date of termination, et cetera,
       17    that goes to everyone who receives that notice in
       18    that batch.     Do you understand that?
       19           A.    Yes.
       20           Q.    Okay.    And I think we talked -- I just
       21    want to make sure I'm crystal clear on this.
       22                 The changes to the personalized
       23    information, the only change you can tell me about
       24    is the one, February of 2020, when the coverage end
       25    date was added, right?


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 78 of 124 PageID 777


                                                                       Page 78
        1           A.    Yes.
        2           Q.    And then for the non-personalized
        3    information you're telling me there might have been
        4    some changes regarding ARPA or some grammatical
        5    changes, right?
        6                        MR. BLUMENFELD:     Objection.
        7           A.    That's what I had stated earlier.
        8    BY MS. HEYSTEK:
        9           Q.    Okay.    I just wanted to make sure I was
       10    very clear in my head of what you were saying.
       11                 (A brief discussion was held off the
       12    record.)
       13    BY MS. HEYSTEK:
       14           Q.    Okay.    Let's move onto Topic 9.       "All
       15    written correspondence sent by Defendant, or on
       16    Defendant's behalf, to Plaintiffs regarding
       17    continuation of health insurance coverage following
       18    Plaintiff's experienced a qualifying event."
       19                 In regards to that, we've already looked
       20    at what I marked as three pieces, Exhibit B, C and
       21    D, that was all one notice you said, sent to
       22    Ms. Bacs.     Was there any other communication that
       23    Defendant sent to her regarding her COBRA?
       24           A.    To Ms. Bacs?
       25           Q.    Yes.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 79 of 124 PageID 778


                                                                       Page 79
        1           A.    Yes.    In addition to the COBRA election
        2    notice that she had received, Ms. Bacs also received
        3    a final -- an email to her personal email address
        4    with final pay and benefits information that
        5    included the contact number to Anthem for COBRA, and
        6    also informed her -- we'd have to look at it again,
        7    but it should have also informed her when her
        8    benefits would cease.        And that was sent to her on
        9    the day of her termination.
       10           Q.    Okay --
       11           A.    And she also -- I'm sorry?
       12           Q.    No.    I didn't mean to cut you off.        Go
       13    ahead.
       14           A.    She also received a letter that, I
       15    believe -- again, I don't know the date off the top
       16    of my head.     But I believe it was mailed early
       17    December from Life Works that would have informed
       18    her upon her termination providing some information
       19    about what to do with various benefits and that she
       20    should be expecting her COBRA election notice in the
       21    mail in, I think, about one to two weeks following
       22    her termination.
       23           Q.    Okay.    Just to be clear, though, the
       24    information that you got from Life Works was not
       25    meant to be the actual COBRA notice though, right?


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 80 of 124 PageID 779


                                                                       Page 80
        1           A.    It was not meant to be the actual COBRA
        2    notice, no.
        3           Q.    Okay.   And the personal email that was
        4    sent to her on her day of the termination, that was
        5    also not supposed to be the COBRA notice, right?
        6           A.    No.   That was just information upon her
        7    involuntary termination that was provided so that
        8    she had resources, contact numbers and information
        9    available to her.
       10           Q.    Okay.   One other thing, I think I forgot
       11    to ask at the beginning.        Is there any argument by
       12    Capital One that Ms. Bacs was not eligible for COBRA
       13    because of gross misconduct?
       14                       MR. BLUMENFELD:      Objection.
       15                       MS. HEYSTEK:     And I'll rephrase it.
       16    BY MS. HEYSTEK:
       17           Q.    Do you have any facts to believe that
       18    Ms. Bacs was ineligible for COBRA based on gross
       19    misconduct?
       20                       MR. BLUMENFELD:      Objection.
       21           A.    So our general practice is that we're not
       22    actually looking at the reason for termination in
       23    making a determination of whether somebody is
       24    eligible for COBRA.       We're offering it to everyone.
       25    BY MS. HEYSTEK:


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 81 of 124 PageID 780


                                                                       Page 81
        1           Q.    As you sit here today, do you have any
        2    facts to say that she was ineligible due to gross
        3    misconduct?
        4                       MR. BLUMENFELD:      Objection.
        5           A.    I don't know that I'm the best person to
        6    interpret gross misconduct.         But what I can tell you
        7    is that Ms. Bacs was terminated involuntarily as a
        8    result of a violation of company policy.
        9    BY MS. HEYSTEK:
       10           Q.    Maybe you're not the best person.          Who is?
       11           A.    I don't know.
       12           Q.    But nonetheless, Capital One sent her
       13    COBRA information allowing her to elect COBRA,
       14    right?
       15           A.    Correct.
       16           Q.    How about Ms. Roubert?       I think she
       17    resigned, but just for sake of consistency, is there
       18    any fact that you know of that would say she was
       19    ineligible for COBRA based on gross misconduct?
       20                       MR. BLUMENFELD:      Objection.
       21           A.    I understand that she voluntarily
       22    resigned.
       23    BY MS. HEYSTEK:
       24           Q.    So is that a "no"?
       25           A.    So, again, I don't think I'm the best


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 82 of 124 PageID 781


                                                                       Page 82
        1    person to interpret what constitutes gross

        2    misconduct and we're offering --

        3          Q.    When are you --

        4          A.    -- offering COBRA to anybody who was a

        5    plan participant in our benefits plan and who is

        6    terminating as a general practice.

        7          Q.    Okay.    When I say, "Gross misconduct," I

        8    meant as defined by COBRA.

        9                      MR. BLUMENFELD:     Objection, calls for a

       10    legal conclusion.

       11    BY MS. HEYSTEK:

       12          Q.    Is that what you meant by, "Gross

       13    misconduct"?

       14                      MR. BLUMENFELD:     Objection.

       15          A.    So I'm responding to, "Gross misconduct,"

       16    in the way that you did.       And, again, I'm not the

       17    best person to interpret that.

       18    BY MS. HEYSTEK:

       19          Q.    When does Capital One make a determination

       20    if gross misconduct makes somebody ineligible for

       21    COBRA?

       22                      MR. BLUMENFELD:     Objection.

       23          A.    Can you -- can you restate the question

       24    I'm not sure I'm really following.

       25    BY MS. HEYSTEK:


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 83 of 124 PageID 782


                                                                       Page 83
        1           Q.    Sure.   When in the process does
        2    Capital One make a determination that somebody was
        3    ineligible for COBRA based on gross misconduct?
        4                       MR. BLUMENFELD:      Objection.
        5           A.    So our general practices, we're offering
        6    COBRA to everybody who is terminating.
        7           Q.    Okay.   Topic 10.     "Any and all facts
        8    supporting any good-faith defense raised by
        9    Defendant as it relates to COBRA notice compliance."
       10                 Do you have any facts to tell us about for
       11    any good-faith reason that COBRA thinks it's notice
       12    was compliant?
       13                       MR. BLUMENFELD:      Objection.
       14           A.    I mean, what -- so like I shared earlier,
       15    we are in conversation with Anthem and Health Equity
       16    about general practices and administering COBRA.
       17    And we also have some internal processes where we
       18    are auditing actually that the COBRA notices are
       19    mailed and that they are sent within the required
       20    period of time.
       21                 You know, we certainly view Anthem and
       22    Health Equity as industry experts in their field.
       23    They are big players.        And we have master services
       24    agreements with Anthem, of course, to cover the
       25    services in question and, you know, my understanding


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 84 of 124 PageID 783


                                                                       Page 84
        1    is that also details, you know, their obligations to
        2    apply with applicable laws send the notices out
        3    within the required time frame, et cetera.
        4    BY MS. HEYSTEK:
        5           Q.    Okay.    Let me dive down to just one thing
        6    here.    You said you have internal processes where
        7    you're auditing the COBRA notices to make sure that
        8    they're mailed and timely; is that what you said?
        9           A.    Yes.
       10           Q.    Okay.    Do you have any internal processes
       11    where you're auditing the COBRA notices to ensure
       12    compliance with the content?
       13                        MR. BLUMENFELD:     Objection.
       14           A.    Yeah, I think we covered this earlier.           I
       15    don't know.
       16    BY MS. HEYSTEK:
       17           Q.    Well, what are your internal processes for
       18    auditing to make sure that they're mailed and
       19    timely?
       20           A.    On a monthly basis we do get a sample
       21    of -- we're looking at a sample of the notifications
       22    that are mailed to make sure that they were sent
       23    out -- and not only just that they were sent out,
       24    that they were sent within the required time frames.
       25           Q.    Do you have -- well, out of that monthly


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 85 of 124 PageID 784


                                                                       Page 85
        1    sample that you look at, do you look at the content
        2    to see if the content is compliant with COBRA?
        3           A.    I don't know.
        4           Q.    Do you have any other internal processes
        5    where you audit, specifically for the content in its
        6    compliance with COBRA?
        7           A.    I don't know.
        8           Q.    And when you're having these regular
        9    conversation with Wage Works and Health Equity, have
       10    they brought up any of the prior lawsuits?
       11                       MR. BLUMENFELD:      Objection.
       12           A.    I don't know.
       13    BY MS. HEYSTEK:
       14           Q.    Do you attend conferences just to keep up
       15    with your job, the industry, that kind of thing?
       16           A.    I have not.     And we are still on travel
       17    restriction at Capital One because of COVID.
       18           Q.    Sorry for that.      Good idea, though.
       19                 Do you attend any of these by Zoom,
       20    remote?
       21           A.    From time to time potentially, it would
       22    depend on the topic and my schedule.
       23           Q.    Prior to COVID would you attend
       24    conferences to keep up with changes in the industry?
       25           A.    From time to time, potentially, yes.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 86 of 124 PageID 785


                                                                       Page 86
        1           Q.    And prior to COVID at any of those
        2    conferences were there discussions about COBRA
        3    notice lawsuits?
        4           A.    So, personally, I have not gone to any
        5    conferences for benefits.         I actually -- although
        6    I've been a human resources director since 2014, I
        7    came into my benefits role in 2019 and -- actually,
        8    February or March of 2019, I guess it was.
        9           Q.    Any conferences that ever discussed
       10    lawsuits about COBRA notices?
       11           A.    As I shared, I have not attended any
       12    benefits conferences that talked about COBRA in my
       13    tenure.
       14           Q.    Have you received any training regarding
       15    COBRA election notices and -- that discussed
       16    lawsuits?
       17                       MR. BLUMENFELD:      Objection.
       18           A.    I'm not aware of any lawsuits related to
       19    COBRA.      I did not receive any training that included
       20    anything about lawsuits with regard to COBRA.
       21    BY MS. HEYSTEK:
       22           Q.    So is it your testimony today that the
       23    first you ever heard about a lawsuit involving COBRA
       24    election notices was when Capital One was sued by us
       25    on behalf of Ms. Bacs and Ms. Roubert?


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 87 of 124 PageID 786


                                                                       Page 87
        1                       MR. BLUMENFELD:      Objection.
        2           A.    That is when I became aware, yes.
        3    BY MS. HEYSTEK:
        4           Q.    Okay.   Topic 11, "Any communications,
        5    including emails exchanged between Plaintiffs and
        6    Defendant in relation to Plaintiffs' insurance
        7    coverage before and after Plaintiffs' qualifying
        8    event."
        9                 I think you've already given me this
       10    information.      Aside from that testimony provided to
       11    me about the emails that went to Ms. Bacs, was there
       12    any other communication?
       13           A.    Communication with -- I'm sorry?          Can you
       14    restate?     I'm having trouble, I didn't hear the last
       15    part.
       16           Q.    Yeah, let's just take each Plaintiff
       17    individually.      I think you already told me that
       18    there were some communication with Ms. Bacs about
       19    the emails and the Life Works, right?            Was there
       20    anything else that we didn't cover?
       21                       MR. BLUMENFELD:      Objection.
       22           A.    I don't know.
       23    BY MS. HEYSTEK:
       24           Q.    Okay.   How about with regard those
       25    Ms. Roubert?      Was there any communications with


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 88 of 124 PageID 787


                                                                       Page 88
        1    Ms. Roubert in relation to her insurance coverage
        2    before or after she was terminated?
        3           A.    Actually -- I apologize.        Can we go back,
        4    because there is another communication that I'm
        5    aware of with Ms. Bacs.        I just recalled it as you
        6    were having that conversation.
        7                 I am aware of a phone call that Ms. Bacs
        8    made into -- I think it must have started with
        9    Anthem.     And she was ultimately transferred over to
       10    the benefits center, which were outsourcing, or Life
       11    Works as I shared, at the time in which she was
       12    actually asking some questions about COBRA
       13    continuation.      And I believe that you had been
       14    provided a copy of that phone call and that was in
       15    early December.
       16           Q.    Okay.   How about Ms. Roubert?
       17           A.    No.   There isn't anything that I'm aware
       18    of.
       19           Q.    And you would agree with me that neither
       20    Ms. Bacs nor Ms. Roubert elected COBRA coverage,
       21    right?
       22           A.    That is my understanding, that's correct.
       23           Q.    Topic 12 is, "Defendant's procedures for
       24    issuing a COBRA notice after a qualifying event,"
       25    during the period that we've already described.              I


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 89 of 124 PageID 788


                                                                       Page 89
        1    think you've already explained that process.
        2                 When you were -- you became the benefits
        3    person in 2019 right?         Is that a yes?
        4           A.    Yes.    Sorry.
        5           Q.    That's all right.      We're two hours into
        6    it.    I understand.
        7                 When you became the benefit person was
        8    there already a COBRA election notice that was being
        9    used by Wage Works?
       10           A.    Yes.
       11           Q.    Okay.    You didn't have to develop one from
       12    scratch in 2019, right?
       13           A.    No.
       14           Q.    Who was in your role prior to you taking
       15    that position?
       16           A.    There were actually -- there wasn't really
       17    anybody in my role.       I think there was some just
       18    organizational changes and my leader had had a
       19    director over this operations team created to help
       20    oversee.
       21           Q.    So before you, who was responsible for
       22    COBRA election notices?
       23                        MR. BLUMENFELD:     Objection.
       24           A.    It would have been the benefits operations
       25    team.    I wouldn't be able to tell you specifically


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 90 of 124 PageID 789


                                                                       Page 90
        1    who necessarily.
        2    BY MS. HEYSTEK:
        3           Q.    All right.     I think you told me earlier
        4    that you rely on Wage Works because I think you said
        5    they were big in this industry, right?
        6                       MR. BLUMENFELD:      Objection.
        7    BY MS. HEYSTEK:
        8           Q.    Something to that effect?
        9           A.    I don't remember my exact words.          But I
       10    think it was something along, you know, "Anthem and
       11    Health Equity are our industry leaders in this
       12    space."
       13           Q.    So in talking about the relationship
       14    between Capital One, Anthem, and Wage Works -- I
       15    just want to make sure, that I'm clear, I'm not
       16    testing your memory here.         I want to make sure I'm
       17    clear on what documents define who's responsible for
       18    what, and that would be that master services
       19    agreement, right, and the controls, I think it
       20    was -- am I right on those two things?
       21           A.    I mean, the roles and responsibilities
       22    between Capital One and Anthem and their
       23    subcontractors would be defined in the master
       24    services agreement and the associated amendments
       25    with them for statements at work.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 91 of 124 PageID 790


                                                                       Page 91
        1           Q.    All right.     Are there any other types of
        2    documents that dictate that relationship?
        3                       MR. BLUMENFELD:      Objection.
        4           A.    Not that I'm aware of.
        5    BY MS. HEYSTEK:
        6           Q.    Topic 13, "The training and qualifications
        7    of Defendant's employees with respect to COBRA and
        8    continuation of health coverage rights."
        9                 In terms of your team that you told me
       10    about earlier, what is the training that you all
       11    undertake to in respect to COBRA?
       12           A.    So, generally -- and I think we had talked
       13    about Alisa on my team, she's a tenured member of
       14    the team, has been on the team for about eight
       15    years.      So she has a lot of on-the-job training,
       16    just familiarity in that process as a process lead.
       17    From time-to-time we may have conversations with,
       18    again, Health Equity and Anthem about what might be
       19    going on with the services, the process, any best
       20    practices there.
       21                 And then also we may from time to time
       22    work with our legal team to ask questions or have
       23    resources.     And then we have some internal
       24    documentation, the process narrative that you had --
       25    I think that's what it was called -- that you had


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 92 of 124 PageID 791


                                                                       Page 92
        1    shared is a resource certainly that the team has
        2    available as are some of our standard operating
        3    procedure, or SOPs as we call them internally, that
        4    document various practices and audits, like the one
        5    I described, around auditing the fact that the
        6    letters were sent and then the timeliness of those.
        7                 And so, you know, part of Alisa's role
        8    would be to continue to look at that process and
        9    make recommendations for improvement and
       10    enhancements.
       11           Q.    Again, you mention best practices in your
       12    discussions with Wage Works.         Did Wage Works ever
       13    tell Capital One that best practices is to include
       14    the coverage end date for COBRA?
       15                       MR. BLUMENFELD:      Objection.
       16           A.    I don't know.
       17    BY MS. HEYSTEK:
       18           Q.    Okay, No. 14 is, "All lawsuits, charges,
       19    or complaints brought against Defendant within the
       20    past five years for violations of the COBRA
       21    statute."     And I think your counsel narrowed that to
       22    you had responded to whether or not it had to do
       23    with Defendant not including the coverage
       24    termination date.
       25                 Are there any lawsuits that you're aware


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 93 of 124 PageID 792


                                                                       Page 93
        1    of?

        2          A.   No, there aren't any.

        3          Q.   No. 15, "Any factual contention by

        4    Defendant that Plaintiffs are not a proper class

        5    representative."

        6               Let's take Ms. Bacs first, is there any

        7    reason that you know of factually to say that she is

        8    not a proper class representative?

        9                      MR. BLUMENFELD:    Objection.    And, Amanda,

       10    as you noted with the prior questions, we objected and

       11    indicated that we're not offering any witness as a

       12    30(b)(6) deponents with respect to subject of whether

       13    Plaintiffs are appropriate class representatives.

       14                      I'm happy to get into further

       15    discussion with you about that.       And if you want to

       16    ask Ms. Miller questions about it, you can.         But

       17    understand she's not a 30(b)(6) deponent on these

       18    topics.

       19                      MS. HEYSTEK:   That's fine.     I understand

       20    your objection.     We'd like to leave the deposition open

       21    then so that we can come back to this topic.

       22    BY MS. HEYSTEK:

       23          Q.   As we sit here today, Ms. Miller, prior to

       24    your counsel deposing the Plaintiffs, are there any

       25    facts that you know of as you sit here today that


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 94 of 124 PageID 793


                                                                       Page 94
        1    would make them not proper class plaintiffs -- or --

        2                      MR. BLUMENFELD:    Objection.

        3                      THE COURT REPORTER:     I'm sorry.    I didn't

        4    hear the end of the question.

        5                      MS. HEYSTEK:   Yeah.

        6    BY MS. HEYSTEK:

        7          Q.   Are there any facts as you sit here today

        8    prior to your counsel's deposition of the Plaintiffs

        9    to state that either of them are not a proper class

       10    representative?

       11                      MR. BLUMENFELD:    Objection.

       12          A.   I really don't understand the terminology

       13    of "class representative," so I can't really speak

       14    on that matter.

       15    BY MS. HEYSTEK:

       16          Q.   All right.    Let me just ask you some

       17    specific questions.     Both Ms. Bacs and Ms. Roubert

       18    received the same COBRA election notice that omitted

       19    termination date of their COBRA coverage; agree with

       20    me on that?

       21                      MR. BLUMENFELD:    Objection.

       22          A.   As we discussed earlier, the notices that

       23    they both received describe the duration of their

       24    COBRA coverage, which could be shorter or longer

       25    based on their specific circumstances.        It did not


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 95 of 124 PageID 794


                                                                       Page 95
        1    include a specific date, but it did describe the

        2    duration.

        3    BY MS. HEYSTEK:

        4         Q.     But neither of them included the specific

        5    date of the COBRA end period, right?

        6         A.     The --

        7         Q.     The coverage end was omitted from both of

        8    them, right?

        9                    MR. BLUMENFELD:    Objection.

       10         A.     I wouldn't say that it was omitted.     I

       11    would say that it wasn't part of the letter, because

       12    we included the duration of the coverage.

       13    BY MS. HEYSTEK:

       14         Q.     Okay.    No. 16, "Any factual contention by

       15    Defendant that Plaintiffs cannot satisfy Rule 23's

       16    requirements for class certification."

       17                Your counsel has the same objection, that

       18    you're not going to be here to provide this

       19    information until it deposes Plaintiff.

       20                So, again, we'd like to leave the

       21    deposition open to come back to this topic.

       22                    MR. BLUMENFELD:    Amanda, without getting

       23    into a debate about whether it's appropriate to leave it

       24    open or not, I want to be clear that our objection was not

       25    that we were not offering a witness until we depose the




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 96 of 124 PageID 795


                                                                       Page 96
        1    Plaintiffs.   We're not offering a witness on this subject.

        2    And we're making clear to you, we are going to depose the

        3    Plaintiffs and then depending on those depositions we'll

        4    make whatever arguments we think appropriate.

        5                    MS. HEYSTEK:    Okay.   And we would like to

        6    leave this deposition open to ask the corporate

        7    representative about those arguments and about the facts

        8    that support those arguments.

        9    BY MS. HEYSTEK:

       10         Q.    So just as we sit here today, I think -- I

       11    think you've already actually answered most of my

       12    questions on this.

       13               Everybody from December of 2017 to

       14    February of 2020 received a COBRA notice that did

       15    not include the COBRA coverage end date similar to

       16    what was received by Ms. Bacs and Ms. Roubert;

       17    correct?

       18                    MR. BLUMENFELD:    Objection.

       19         A.    As discussed, the notices included the

       20    duration of the coverage but did not have a date

       21    specific to the individual.

       22    BY MS. HEYSTEK:

       23         Q.    And No. 17, "What efforts, if any,

       24    Defendant undertook to ensure its notice of

       25    continuation coverage written in a manner calculated




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 97 of 124 PageID 796


                                                                       Page 97
        1    to be understood by the average plan participant."
        2                 I think your counsel told us that you
        3    would be prepared to answer questions about
        4    Capital One's COBRA compliance processes and
        5    procedures during the relevant period.
        6                 I think we've kind of already gone over
        7    this, but I just want to give you an opportunity to
        8    tell me, are there any other things that we haven't
        9    discussed that Capital One takes to make sure that
       10    the COBRA notice it sends out is compliant with the
       11    law in regards to what we're dealing with, this
       12    coverage end date.       I'm not concerned about ARPA.
       13                       MR. BLUMENFELD:      Objection.
       14           A.    I don't think that there's anything
       15    additional that we haven't already discussed.
       16    BY MS. HEYSTEK:
       17           Q.    Okay.   I think I had only one more exhibit
       18    that I wanted to mark and enter.          And, Ms. Miller,
       19    this is the Defendant's Answers and affirmative
       20    Defenses to the Amended Complaint.
       21                 Have you seen this document before?
       22           A.    I believe so.
       23           Q.    Okay.   And I've premarked this as
       24    Exhibit K and I just want to enter it into the
       25    record.


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 98 of 124 PageID 797


                                                                       Page 98
        1                 (Exhibit K was marked for identification.)
        2    BY MS. HEYSTEK:
        3           Q.    We didn't really talk about all of the
        4    affirmative defenses, but we did talk about the
        5    good-faith defense.       So I just wanted to make sure
        6    that I gave you an opportunity, besides the things
        7    that we've talked about here -- I think you
        8    mentioned you relied on the model notice as a guide.
        9    Are there any other facts that you'd like to tell us
       10    about, about Capital One's good-faith efforts to
       11    ensure that the COBRA notice it sent out to its plan
       12    participants was compliant with the law?
       13                       MR. BLUMENFELD:      Objection.
       14           A.    I mean, I think the only thing that I
       15    would offer, maybe that I didn't share earlier, is
       16    around -- you know, in addition to some of the other
       17    practices that we've discussed, is that we also make
       18    the contact number to both the benefit center,
       19    Anthem and the Capital One website available -- or
       20    the benefits website, rather -- available, so that
       21    if there are questions that participants are able to
       22    call and ask those questions and have a discussion
       23    in the event that they need additional information.
       24                 And I know that, that -- you know, for
       25    example, in the case of Bacs, she did call and ask


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 99 of 124 PageID 798


                                                                       Page 99
        1    questions about COBRA.        And so I know that that's a
        2    channel that's heavily utilized for individuals who
        3    may have questions about, you know, the benefit
        4    services or contents in the notifications that they
        5    received.
        6    BY MS. HEYSTEK:
        7           Q.    Let me break that down for just a minute.
        8    That number, does that go to Anthem employees or
        9    does it go to Wage Works employees?
       10           A.    Well, there are couple of different
       11    numbers that we might publish.          Specifically there
       12    is a number that -- and I don't know, honestly, on
       13    the back end if it goes to Anthem employees or
       14    Health Equity employees.        It's listed as Anthem for
       15    questions about COBRA.        But we also have a benefits
       16    center.     And at the time period of this -- the time
       17    period in question, that phone number pointed to
       18    Life Works.
       19           Q.    You said, "The benefits center."          And
       20    maybe I'm confused.       Is that staffed by Capital One
       21    employees?
       22           A.    The benefits center at the time period of
       23    this -- this time period at hand, I guess, you'd
       24    call it, was staffed by Life Works.           And after
       25    April 3rd of this year, we actually in-sourced that,


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 100 of 124 PageID 799


                                                                      Page 100
         1    as previously discussed.
         2          Q.    Okay.    And you said, "Heavily utilized."
         3    What made you use those words?         Do you know how many
         4    people have called those numbers?
         5          A.    I don't.
         6                      MR. BLUMENFELD:      Objection.
         7    BY MS. HEYSTEK:
         8          Q.    Okay.    I just want to make sure that was
         9    your own subjective characterization of it, right?
        10          A.    Yeah.
        11          Q.    Okay.    And those numbers are for all
        12    benefits, not just COBRA, right?
        13          A.    The benefits center is a general number.
        14    But there is a specific phone number that we list,
        15    for example, on the email that was sent to Susan
        16    Bacs that had the final pay and benefits
        17    information, there was a specific line item that
        18    called out Anthem for COBRA.
        19          Q.    So she would have called that number and
        20    spoke to somebody from Anthem?
        21          A.    Again, I don't know if it's Anthem or a
        22    Health Equity employee who answers that.            It would
        23    have said -- it would have been listed in the email
        24    that she received as Anthem for COBRA.           And I think
        25    we also include that phone number in these COBRA


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 101 of 124 PageID 800


                                                                        Page 101
         1   election notices as well.

         2          Q.   All right.   I'm looking at Exhibit B,

         3   which is the first three pages of the COBRA notice

         4   that went to Ms. Bacs.     Are you saying this number

         5   right here on Page 2 --

         6          A.   Can you move that a little?

         7          Q.   Yeah.

         8               This one right here, "Please contact at

         9   Anthem at (877)775-9393."

        10          A.   Yes, that is -- that's the phone number

        11   that I'm referring to for COBRA questions, yeah.

        12          Q.   Okay.   And that's information about her

        13   rights to allow coverage.

        14               But above there it says, "Questions

        15   concerning your plan should be addressed to Capital

        16   One Financial," right?

        17          A.   Yes, that's what that letter states.

        18                    MS. HEYSTEK:    Okay.   All right.   I don't

        19   think I have any other questions, Ms. Miller.         I

        20   appreciate your time.     I think your counsel may have some.

        21                    MR. BLUMENFELD:    No, no questions from us.

        22                    MS. HEYSTEK:    All right.   Do you want read

        23   or waive?

        24                    MR. BLUMENFELD:    No, we'll read.       Thank

        25   you.




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 102 of 124 PageID 801


                                                                      Page 102
         1                (The videoconference deposition concluded
         2    at 11:55 a.m.)
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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 103 of 124 PageID 802


                                                                      Page 103
         1   (JULIE MILLER, Wednesday, July 27, 2022)

         2                           ***ERRATA SHEET***

         3       PAGE / LINE      CHANGE

         4      _____   _____     _______________________________________

         5      _____   _____     _______________________________________

         6      _____   _____     _______________________________________

         7      _____   _____     _______________________________________

         8      _____   _____     _______________________________________

         9      _____   _____     _______________________________________

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        12      _____   _____     _______________________________________

        13      _____   _____     _______________________________________

        14      _____   _____     _______________________________________

        15      _____   _____     _______________________________________

        16      _____   _____     _______________________________________

        17      _____   _____     _______________________________________

        18      _____   _____     _______________________________________

        19      _____   _____     _______________________________________

        20      _____   _____     _______________________________________

        21      _____   _____     _______________________________________

        22   RETURN TO:

        23   ANTHEM REPORTING
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        24   Tampa, Florida 33602

        25


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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 104 of 124 PageID 803


                                                                      Page 104
         1                       SIGNATURE PAGE

         2

         3   STATE OF FLORIDA          )

         4   COUNTY OF HILLSBOROUGH )

         5

         6              I HAVE READ THE FOREGOING TRANSCRIPTION OF MY

         7   DEPOSITION; AND, EXCEPT FOR ANY CORRECTIONS AND/OR AMENDMENTS

         8   APPENDED HERETO, I HEREBY SUBSCRIBE TO THE TRANSCRIPT AS AN

         9   ACCURATE RECORD OF THE TESTIMONY GIVEN BY ME.

        10

        11

        12              _________________

        13              JULIE MILLER

        14

        15

        16   Signed and subscribed to before me

        17   this _____ day of _____________, 2022.

        18   ______________

        19   NOTARY PUBLIC

        20

        21   Re: CASE NO.: 8:21-CV-2852-TPB-TGW
             Taken: Wednesday, July 27, 2022
        22   Reported By: Jeanice Freyre Schaffer

        23

        24

        25




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 105 of 124 PageID 804


                                                                      Page 105
         1                  CERTIFICATE OF REPORTER

         2

         3   STATE OF FLORIDA                      )
             COUNTY OF HILLSBOROUGH                )
         4

         5        I, JEANICE FREYRE SCHAFFER, Court Reporter, do      hereby

         6   certify that I was authorized to and did stenographically

         7   report the above deposition; and that the foregoing

         8   transcript pages 1 through 102, is a true record of my

         9   stenographic notes.

        10        I FURTHER CERTIFY that I am not a relative, employee, or

        11   attorney, or counsel of any of the parties, nor am I a

        12   relative or employee of any of the parties' attorney, or

        13   counsel connected with the action, nor am I financially

        14   interested in the action.

        15   DATED this 1st day of August, 2022.

        16

        17

        18   ______________________________________

        19   JEANICE FREYRE SCHAFFER, COURT REPORTER

        20

        21

        22

        23

        24

        25




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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 106 of 124 PageID 805


                                                                      Page 106
         1                        CERTIFICATE OF OATH
         2
         3    STATE OF FLORIDA                           )
              COUNTY OF HILLSBOROUGH                     )
         4
         5
         6                I, JEANICE FREYRE SCHAFFER, PROFESSIONAL
         7    COURT REPORTER, Notary Public, State of Florida,
         8    certify that JULIE MILLER visually appeared before
         9    me via Zoom on Wednesday, July 27, 2022, and was
        10    duly sworn.
        11                Signed this 1st day of August, 2022.
        12
        13
        14    _______________________________
        15    JEANICE FREYRE SCHAFFER
              Notary Public - State of Florida
        16    My Commission Expires: January 27, 2024
              Commission Number: GG947453
        17
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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 107 of 124 PageID 806


                                                                      Page 107
         1    NOTIFICATION OF READING AND SIGNING OF DEPOSITION

         2   TO:        JULIE MILLER
                        c/o Jeremy P. Blumenfeld, Esquire
         3              Jeremy.Blumenfeld@MorganLewis.com

         4    August 1, 2022

         5
             Your deposition in the above referenced case has been
         6   transcribed. And you now have the right to read and sign
             this transcript. Please contact our main office within 30
         7   days to arrange the read and signing of your deposition
             transcript. You are to read the entire transcript, list any
         8   necessary changes on the provided errata sheet, then sign and
             notarize the errata sheet.
         9   You must appear in-person for this read and sign unless a
             transcript copy is paid for by you or your attorney. Please
        10   feel free to order a copy of the transcript at our normal
             copy rates; otherwise, you may schedule an appointment at our
        11   offices via phone (888)909-2720 or email
             Anthem@AnthemReporting.com to come in and complete this read
        12   and sign process.

        13   Best regards,

        14
             Jeanice Freyre Schaffer
        15   ANTHEM REPORTING
             101 S. Franklin Street, Suite 101
        16   Tampa, Florida 33602

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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 108 of 124 PageID 807

                                                                                   [Page 108]

               A            20:3 83:16       Amanda 2:4          103:23 107:15      74:22 78:4
       A-L-I-S-A 28:5     administration      5:25 13:15       Anthem's 70:15       97:12
       a.m 1:17,17          9:23 13:3         31:22 39:7         70:22            arrange 107:7
         102:2              15:14 22:25       46:9 49:8        Anthem@Ant...      ascertain 45:18
       able 20:1 35:25      23:22 25:17       55:10 56:4         107:11             45:25 46:4
         38:25 42:20        27:24             58:3 61:15       anybody 25:21      aside 37:15
         43:11 48:5       administrator       66:1 73:4 93:9     26:6 82:4          38:18 57:22
         66:25 77:2         9:11,20 20:7,9    95:22              89:17              71:18 87:10
         89:25 98:21        20:14,17 22:16   amended 4:3       apologies 39:12    asked 7:24 16:21
       abreast 27:6         31:15 34:20       10:23 11:17      apologize 88:3       53:20 55:16
       Absolutely         administrators      14:2 34:19       appear 49:19         68:13
         11:22 32:14        21:3              61:19 63:12,16     107:9            asking 21:23
         56:3             admission 55:7      97:20            APPEARAN...          27:9 45:3 46:4
       accessing 70:15    admit 55:17        amendment           2:1                46:12 51:2
       account 16:7       affirmative         4:17 18:5,12     appeared 106:8       62:21 88:12
         36:7 48:16         97:19 98:4       amendments        Appearing 1:22     assignments 7:9
       ACCURATE           ago 57:7 68:16      90:24 104:7      appears 48:5       associated 90:24
         104:9            agree 33:13,19     AND/OR 104:7      APPENDED           assume 7:24
       act 19:4             36:24 40:9       answer 7:23 8:7     104:8              37:17
       action 105:13,14     41:18 48:17,23    8:9,10,20 10:4   applicable 26:16   attached 4:21
       actual 23:8 30:1     50:12,19 65:4     15:22,23 45:24     51:11 57:17        55:17 61:22
         65:6 79:25         65:16 66:15       49:17 54:1         64:15 69:20        63:3
         80:1               69:5 75:11        56:6 67:13         72:24 73:8       attend 85:14,19
       ad 72:4              76:2 88:19        97:3               84:2               85:23
       added 29:17,20       94:19            answered 21:15    apply 84:2         attended 86:11
         30:2,3 74:19     agreed 14:11,24     68:14 96:11      appointment        attorney 105:11
         77:25              20:11            answering 30:23     107:10             105:12 107:9
       adding 29:15       agreement 4:16     answers 4:14      appreciate         attorneys 6:10
       addition 79:1        4:18 16:24        6:15 97:19         23:18 41:24        6:12 27:10
         98:16              17:8,12 18:5      100:22             42:18 101:20     audit 85:5
       additional 29:13     21:17 73:16      Anthem 4:16       appropriate        auditing 83:18
         29:16 44:24        74:1 90:19,24     9:21,24 12:18      93:13 95:23        84:7,11,18
         97:15 98:23      agreements          15:16 16:7,15      96:4               92:5
       additions 59:17      83:24             16:20 17:8,13    approximately      audits 92:4
       address 32:17      ahead 32:22         17:21 18:7,13      9:18             August 105:15
         36:5 37:16         66:9 79:13        18:21,24 19:3    April 22:15,24       106:11 107:4
         38:5 48:16       aheystek@wfc...     19:10 21:7         22:25 23:24      authorized
         55:2 56:13         2:6               27:2,11,21         24:2,6 71:9        105:6
         59:10 76:7,9     Alisa 28:2,5,15     69:25 70:9,11      99:25            available 60:15
         77:16 79:3         91:13             70:17 71:2       argue 7:15           75:25 80:9
       addressed          Alisa's 92:7        79:5 83:15,21    arguing 73:11        92:2 98:19,20
         101:15           allegation 25:6     83:24 88:9       argument 77:1      Ave 2:5
       addresses 37:23    allow 101:13        90:10,14,22        80:11            average 97:1
       administer 7:7     allowing 81:13      91:18 98:19      arguments 96:4     aware 13:1 19:3
         9:12 15:17       Alternatives        99:8,13,14         96:7,8             19:12,16,19
       administering        33:6 40:14        100:18,20,21     Aron 1:3 24:23       28:17 31:3,9
                            50:8              100:24 101:9     ARPA 29:15           39:24 42:5,24

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Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 109 of 124 PageID 808

                                                                                  [Page 109]

         45:8 51:6        batch 22:8 23:2    18:22 19:5         54:1              19:15,21 22:5
         58:24 60:2,23      24:3 77:18       20:24 21:9,21     brackets 64:23     22:12 24:3,6,9
         74:8,10,23       Bates 40:25        25:1,23 26:9       64:25 67:6        24:10 25:8
         75:9 86:18         41:14,25 42:1    26:24 28:20       break 8:18,19      26:15,19 28:17
         87:2 88:5,7,17     47:8,18 50:9     29:5 30:9,20       8:21 26:18        29:1 30:19
         91:4 92:25       beginning 80:11    31:22 32:1         55:11 56:16       31:1,6 32:10
                          behalf 2:3,9 6:1   33:16,22 34:5      99:7              34:2,11 35:2,5
               B            6:15 15:17       35:4,9,16         brief 11:9,10      35:8 38:23
       B 4:1,5 31:18,23     16:16 32:10      37:22 38:9,20      56:19 68:4        39:3,4,16 40:6
        32:15,20 34:24      35:7 42:9        39:6,19 40:1       78:11             41:7 42:9 43:1
        35:3,13 36:4        43:20 46:22      40:17 41:19       Brockius 2:11      43:7,15,21
        36:19,24 55:19      68:20 78:16      42:4,12 43:3      broken 32:3        45:11,19 46:22
        78:20 101:2         86:25            43:16,24 44:10    brought 85:10      50:1 52:20
       back 11:12 44:2    believe 17:22      44:20 45:21,23     92:19             53:10 54:10,15
        44:3 56:21          41:2 44:5 54:7   46:8 48:3,18      business 14:20     54:20,25 56:24
        70:3 88:3           79:15,16 80:17   49:8 50:15,22                        57:11 61:2
        93:21 95:21         88:13 97:22      51:21 55:10,25            C          66:16 68:20
        99:13             beneficiaries      56:4,17 57:3      C 4:6 32:23,24     70:12 71:13,23
       Bacs 1:3,3 4:5,6     51:8 53:21       58:2,13 59:3        33:1 35:3,13     74:7 80:12
        4:7 6:1 16:10       57:16 69:19      59:15 60:19,24      40:4 55:19       81:12 82:19
        24:22,23 31:20    benefit 89:7       61:5,15,20          78:20            83:2 85:17
        32:16,25 33:4       98:18 99:3       62:2,21 63:2      c/o 107:2          86:24 90:14,22
        33:15,20,23       benefits 4:11 7:5  63:20 64:5,13     Cabassa 2:4        92:13 97:4,9
        34:12 36:5,12       7:8 10:20 11:2   65:8,20 66:1      calculated 65:6    98:10,19 99:20
        38:4 40:8 41:3      15:14,20 22:16   66:19 67:24         68:11 96:25      101:15
        41:4,16,22          22:25 79:4,8     68:13,23 69:7     calculating      case 1:4 6:2
        42:2 49:7           79:19 82:5       69:14 70:1          47:25            26:22 44:12
        50:14 58:11         86:5,7,12        71:15 72:1,5      calculation        48:2,6 60:6
        66:17 67:8,16       88:10 89:2,24    73:4,7,15,17        41:17            61:23,25 63:3
        67:18 75:12         98:20 99:15,19   74:3,11,20        calculations       98:25 104:21
        78:22,24 79:2       99:22 100:12     75:5 76:14          59:11            107:5
        80:12,18 81:7       100:13,16        78:6 80:14,20     call 75:13 88:7  cause 5:5
        86:25 87:11,18    best 56:13 81:5    81:4,20 82:9        88:14 92:3     cease 79:8
        88:5,7,20 93:6      81:10,25 82:17   82:14,22 83:4       98:22,25 99:24 center 15:22
        94:17 96:16         91:19 92:11,13   83:13 84:13       called 91:25       88:10 98:18
        98:25 100:16        107:13           85:11 86:17         100:4,18,19      99:16,19,22
        101:4             big 83:23 90:5     87:1,21 89:23     calls 16:6 65:20   100:13
       Bacs' 48:9         bigger 49:1        90:6 91:3           82:9           certain 7:17
       Bacs's 55:18       billing 15:24      92:15 93:9        Cap 4:11           14:9,11 42:20
        68:22             bit 7:4,20 11:23   94:2,11,21        capable 47:25    certainly 27:9
       ballpark 9:16        18:9 21:18       95:9,22 96:18     capital 1:6,11     42:18 83:21
       based 25:19          23:7 25:3        97:13 98:13         4:16 6:16,16     92:1
        35:19 48:1          48:11,25 69:25   100:6 101:21        6:23,25 7:9,17 Certificate 3:7,8
        80:18 81:19       Blumenfeld 2:10    101:24 107:2        10:19 12:12,22   105:1 106:1
        83:3 94:25          8:1,3 10:1      bold 37:11 48:24     13:2 15:13,18 certification
       basically 7:14       12:17,25 13:15   49:7                17:13,20 18:7    95:16
       basis 84:20          13:23 16:19     bottom 36:18         18:13 19:3,10 certify 105:6,10


      888.909.2720                     Anthem Reporting                          813.272.2720
                                      anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 110 of 124 PageID 809

                                                                                     [Page 110]

         106:8               2:13               64:21 65:5,6       19:10,19 30:15     86:5,9,12
       cetera 35:22        circumstances        66:16 67:22        87:4,25          confidential
         43:10 77:16         29:25 35:20        68:9,19,21       companies            4:20 10:15
         84:3                66:23 67:2         69:18 70:18,23     27:18              18:1 72:13
       change 23:4           94:25              71:3,13,24       company 81:8       confused 99:20
         30:11,12,16,18    CIVIL 1:2            72:22 74:9,16    compare 48:21      connected
         30:19 31:2,7      clarify 19:17        75:12,20 76:18   compared 48:20       105:13
         31:10,12 42:21    class 53:23 93:4     78:23 79:1,5     comparing          consistency
         43:6,14,22,22       93:8,13 94:1,9     79:20,25 80:1      49:16 50:16        81:17
         45:14,20 46:2       94:13 95:16        80:5,12,18,24      58:14            consolidated
         46:7 57:8,23      clear 46:12          81:13,13,19      comparison           10:11
         58:6,24 59:1,4      67:17 77:21        82:4,8,21 83:3     40:11            constitutes 82:1
         59:20 69:6,11       78:10 79:23        83:6,9,11,16     complaint 6:4      contact 15:22
         69:12,15 71:21      90:15,17 95:24     83:18 84:7,11      25:6 61:19,22      79:5 80:8
         74:17,18 77:23      96:2               85:2,6 86:2,10     63:3,4,12,16       98:18 101:8
         103:3             clearly 39:2         86:12,15,19,20     73:10,25 97:20     107:6
       changed 21:3,7      COBRA 4:5,6,7        86:23 88:12,20   complaints         contain 75:13
         39:24 44:6          4:8,9,10 6:3       88:24 89:8,22      92:19            contains 47:9
         71:8                9:6,9,11,23        91:7,11 92:14    complete 107:11    contemplating
       changes 20:23         12:18 13:2         92:20 94:18,19   completely 66:4      45:6
         21:1 25:12          14:21,21 15:14     94:24 95:5       compliance         content 16:17
         27:3,5,6,13,16      15:17,22,23,25     96:14,15 97:4      14:22 26:7         34:15 43:14
         28:17,22,24         16:9,13 19:4       97:10 98:11        71:25 83:9         57:15 84:12
         29:2,3,11,13        19:18 20:7,8,9     99:1,15 100:12     84:12 85:6         85:1,2,5
         38:12,15,18,19      20:14,16 21:3      100:18,24,25       97:4             contention 93:3
         38:24 39:3,4        21:7,19,20,24      101:3,11         compliant 19:4       95:14
         39:17,23 42:20      22:5,22 23:8     COBRA-related        26:15,20 83:12   contents 99:4
         42:22,25 43:1       24:25 25:7         15:1               85:2 97:10       contest 17:3
         43:9,11,14          26:7,19,21       collecting 15:24     98:12              29:9 42:19
         44:16 45:4,8        27:13,16,24      come 23:9,11       complies 5:8       context 29:12
         56:25 59:17,23      28:18 29:2,17      93:21 95:21      comprehensive      continuation
         70:18,23 71:2       29:19,22,22        107:11             41:21              23:22 25:17
         74:15,22,24         31:7,16 32:24    comes 24:13        computated           51:12,19 53:24
         75:3,7 77:22        33:5,23 35:15      57:25              77:10              60:14 62:6
         78:4,5 85:24        37:12,20 38:24   coming 56:21       computates           64:22 78:17
         89:18 107:8         39:18 40:5,13    Commission           47:22              88:13 91:8
       changing 43:20        40:19 44:7,16      1:21,21 106:16   computations         96:25
       channel 99:2          45:14,20 49:24     106:16             75:17            continue 31:23
       characterizati...     50:5,7,25        communicate        computed 37:17       92:8
         100:9               51:12,18,19,24     16:1 19:21       concerned 97:12    continuing
       charges 92:18         52:4,7 53:22     communicated       concerning           51:10 61:12
       check 9:13            54:2,3,17,22       19:14              101:15           contract 12:18
       Chicago 8:15          55:18,21 56:25   communication      concluded 102:1      16:20 17:3,15
       Chris 10:17           57:8,15 58:25      19:12 78:22      conclusion           17:19 18:13
       CHRISTOPH...          59:25 61:3,12      87:12,13,18        65:21 82:10        21:6 27:21
         2:10                62:6 63:18,25      88:4             conferences        contractors
       Christopher....       64:2,4,10,11     communicatio...      85:14,24 86:2      27:20

      888.909.2720                      Anthem Reporting                            813.272.2720
                                       anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 111 of 124 PageID 810

                                                                                   [Page 111]

       contracts 12:16      101:20 105:11       39:21           79:9 80:4          98:5
         12:23 13:1         105:13            crystal 77:21     104:17 105:15     defenses 4:14
       contradicts        counsel's 94:8      cursor 36:21      106:11             97:20 98:4
         65:18            Counselor 5:14      Cushman&W...     days 73:12         define 73:24
       contrary 66:6      County 1:22           60:7            107:7              90:17
       controls 4:20        104:4 105:3       cut 79:12        deadline 36:14     defined 15:4,4
         72:14 90:19        106:3                               36:19 38:6         39:21 68:10
       conversation       couple 56:22                D         47:13,17,22        69:21 72:25
         16:8 70:4          99:10             D 3:1 4:7 33:3,7  75:16 77:9         73:19,19,24
         83:15 85:9       course 83:24         35:3,13 40:12 dealing 9:6,9         82:8 90:23
         88:6             court 1:1 5:3,6,9    41:14 48:9       97:11             denied 55:23,24
       conversations        5:14 8:13          55:19 78:21     deals 27:24        Department
         19:25 20:2         23:11,15 28:3     data 22:17,19    debate 95:23        61:12 63:18
         27:1,11 91:17      44:1 66:5,10       23:2,25 52:20 December 15:5         64:3,11
       copy 13:10 32:1      68:2 94:3          52:22 70:4,7     15:5,8,9 25:9,9   depend 85:22
         88:14 107:9,10     105:5,19 106:7     70:12,12         28:18,19 29:3     dependents
         107:10           cover 83:24         date 29:17 30:1   34:23 36:6         31:20 53:1
       corner 34:24         87:20              30:2 31:7        51:16,16,25,25    depending 29:24
       corporate 1:11     coverage 4:5,8       34:22,25 36:5    52:8,8 54:4,4      96:3
         4:3 6:7 11:18      23:23 25:18        36:7,8,8 38:5,5  57:20,21 58:9     depo 4:23 10:6,9
         14:3 22:4 96:6     29:17,20,23        38:6 39:2        58:9 62:1,1       deponent 93:17
       Corporation 1:6      31:8 33:5,5        41:17 47:1,12    69:22,22 71:6     deponents 93:12
         10:20              36:8,8 37:20       48:1,1 54:12     71:6 73:13,13     depose 95:25
       correct 10:7,24      38:6 39:1 40:5     54:18 57:2,23    79:17 88:15        96:2
         15:11 20:19        40:13,14 49:25     59:2,10,10,11    96:13             deposes 95:19
         24:1,4 33:15       50:7,8 51:10       60:16 61:4      decided 57:19      deposing 93:24
         36:7 37:21         51:13,19 52:4      64:23 65:1,6    Defendant 1:7      deposition 1:9
         46:7,17 47:10      53:25 57:2,23      66:18,24 67:1    2:9 12:11          4:4 5:2 7:10
         47:21 50:2         59:2 60:14,17      67:7,14 68:11    14:23 15:4         11:18 12:2
         59:14 63:25        61:4,13 62:7       68:11,21 69:1    20:10 40:24        14:4 61:21
         64:4 67:8,16       64:22 65:6         73:25 74:19      47:8 50:9          66:4 93:20
         67:18,19 69:13     66:18,21,25        75:15,16 76:10   55:16,21,22        94:8 95:21
         73:5 81:15         68:11,21,25        76:10 77:8,16    69:17 72:23        96:6 102:1
         88:22 96:17        74:18 77:24        77:25 79:15      78:15,23 83:9      104:7 105:7
       CORRECTIO...         78:17 87:7         92:14,24 94:19   87:6 92:19,23      107:1,5,7
         104:7              88:1,20 91:8       95:1,5 96:15     93:4 95:15        depositions 96:3
       correspondence       92:14,23 94:19     96:20 97:12      96:24             describe 16:24
         78:15              94:24 95:7,12     dated 17:14      Defendant's         94:23 95:1
       cost 23:7            96:15,20,25        105:15           4:12,13,14,19     described 17:8
       costs 35:22          97:12 101:13      dates 15:7 31:15  4:22 14:1,20       21:17 88:25
       counsel 7:19 8:6   covered 31:20        34:20 35:21      20:7 24:16         92:5
         14:9 15:3 27:5     68:15 84:14        37:8,16 47:1     25:19 51:9        DESCRIPTION
         51:14 68:10      COVID 29:15          48:1,16 73:24    53:22 55:6         4:2
         69:21 72:25        85:17,23 86:1      74:1 75:15       69:19 78:16       designate 27:18
         73:2 74:5        CR 4:23             day 22:14 23:10   88:23 91:7        designated
         92:21 93:24      created 89:19        24:8,9,11,13     97:19              13:19
         95:17 97:2       criteria 39:4,16     29:19 60:17     defense 83:8       details 84:1

      888.909.2720                      Anthem Reporting                          813.272.2720
                                       anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 112 of 124 PageID 811

                                                                                      [Page 112]

       determination       discussion 10:17     48:8                64:4,12 65:5       67:6 72:7,8
         80:23 82:19         11:10 68:4       earlier 21:15         66:16 67:22        97:18,24
         83:2                71:1,19 78:11      41:21 70:4          68:9,19 70:18    entered 12:8
       determine 29:1        93:15 98:22        71:7 74:21          71:14,24 75:16     22:13
         39:4,17 54:16     discussions 19:2     78:7 83:14          75:23 76:10      entire 107:7
         54:21 55:2          86:2 92:12         84:14 90:3          77:9 79:1,20     entirety 17:24
         57:11             DISTRICT 1:1         91:10 94:22         86:15,24 89:8    entity 10:7,11
       develop 89:11         1:1                98:15               89:22 94:18      environment
       developed 16:9      dive 13:16 21:18   early 11:15           101:1              64:15
       developing            22:9 84:5          29:18 79:16       eligible 35:15     Equity 9:22,25
         16:13 25:11,22    DIVISION 1:2         88:15               80:12,24           10:7 16:15,21
         70:18             Docs 4:21          easily 45:18 46:4   email 45:11 79:3     19:25 20:17
       dictate 91:2        document 11:19       46:17               79:3 80:3          21:13 22:20,21
       dictates 17:5,20      12:6 13:10       effect 19:13,20       100:15,23          23:3 27:2,25
       DIFFEE 2:10           14:5 17:5,17       90:8                107:11             28:9 52:24
       different 19:24       18:8 24:18       effective 10:24     emails 16:6          54:13,16 55:1
         25:24 34:9          31:21 32:13        18:6,14 30:1        27:12,16 45:10     69:24 70:8,8
         74:14 99:10         41:21 53:12        66:24               45:13 46:5,5       70:13,14 83:15
       difficult 48:11       55:8,17 60:8     effects 43:23         46:10,17,18        83:22 85:9
       direct 3:5 5:20       61:16 62:1,8,9   efforts 96:23         70:25 71:18        90:11 91:18
         30:19 31:1,6        62:14,16,25        98:10               87:5,11,19         99:14 100:22
         70:8                63:8 72:14,19    eight 28:10         Emp 4:11           Equity/Wage
       directed 31:12        92:4 97:21         91:14             employee 10:20       54:21
       directly 12:23      documentation      either 13:17          52:25 100:22     errata 3:6 103:2
         16:1 19:22          17:9 91:24         19:20 94:9          105:10,12          107:8,8
         24:3,7 51:4       documents          either/or 62:22     employees 53:4     Esquire 2:4,10
         65:18               10:15 12:2,4     Elction 4:9           53:4 91:7 99:8     2:10 107:2
       director 6:18 7:3     12:11,15,16      elect 51:12,19        99:9,13,14,21    established
         9:5,15 22:4         17:23 90:17        52:4,15,17        employer 60:13       20:15
         43:19 44:6          91:2               53:24 54:3          60:16            et 35:22 43:10
         45:10 63:22       DOL 4:24 61:11       81:13             employment           77:16 84:3
         86:6 89:19          65:5 67:4        elected 54:22         41:18 48:16      event 23:23
       disclose 67:11      downstream           64:21 88:20         59:10 75:15        25:18 33:21
       disclosure 4:13       23:10,14,15      electing 36:9         77:8               35:15 45:1
         40:20             due 81:2           election 4:5,6,8    ends 60:17           51:10 53:24
       disclosures         duly 5:18 106:10     22:17 32:6,24     enhancements         78:18 87:8
         24:17 25:20       duplicative 73:2     33:24 34:14         92:10              88:24 98:23
         35:25 40:20         74:6               36:14 37:13,20    enrollment         everybody 36:1
       discoverable        duration 29:22       38:6,25 39:18       15:21 22:17        83:6 96:13
         24:21               35:21 68:24        40:5,19 47:13     ensure 26:19       everybody's
       discussed 27:10       94:23 95:2,12      47:16,22 49:25      84:11 96:24        37:12
         73:1 86:9,15        96:20              50:25 51:10,18      98:11            exact 36:1 53:8
         94:22 96:19       duties 7:4           51:25 52:8        enter 11:5 14:16     54:8 58:15
         97:9,15 98:17                          54:17 57:8          17:25 18:16        90:9
         100:1                     E            58:25 59:11,25      26:3 49:21       exactly 20:1
       discussing 27:12    E 2:4 3:1 4:1,8      61:13 62:7,10       53:14 56:14        38:14 48:14,21
         27:16 70:23        46:20,23 47:7       62:11 63:19         61:7 64:23,25      48:24 49:6

      888.909.2720                      Anthem Reporting                             813.272.2720
                                       anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 113 of 124 PageID 812

                                                                                  [Page 113]

         50:13,17 53:6      60:13          file 23:3 24:13       59:13            95:22
       Examination        extenuating      filed 62:1 63:4     formal 71:19,23  GG947453 1:21
         3:5 5:20           67:2              74:1             formalized         106:16
       examined 5:18                       files 23:9,13         71:12          give 5:10 6:15
       example 71:20               F       filing 73:9         formatting         22:11 28:13
         98:25 100:15     F 4:9 49:20,22   final 79:3,4          29:12 38:11      53:7 71:20
       examples 75:8      facilitate 9:11     100:16             43:10,13 44:8    97:7
       excellent 8:5      fact 36:14,18    financial 1:6 7:8     75:4           given 7:10,18
         13:22 64:19        66:4,4 81:18      10:20 101:16     former 53:4        38:15 49:25
       exception 48:15      92:5           financially         forms 72:23        54:11 87:9
       exchanged 87:5     facts 35:20         105:13           four 25:8 57:20    104:9
       exhibit 10:19        80:17 81:2     find 6:12 25:10       73:9,13,25     glad 36:3
         11:6,7 13:4,6      83:7,10 93:25     46:6             fractions 14:12  gladly 7:22
         14:1,16,17         94:7 96:7 98:9 fine 29:7 93:19     frame 38:15      global 7:6,8
         15:9 17:11,25    factual 93:3     first 5:18 10:18      58:22 59:18    go 7:12,20 8:5
         18:2,16,17         95:14             14:19 15:12        84:3             10:16 11:8,12
         24:16 26:3,4     factually 93:7      20:16 24:8       frames 84:24       12:14 13:8
         31:18,23 32:15   fair 7:25 8:21      31:17 32:15      Franklin 103:23    20:6 23:14
         32:20,23,24        9:2 34:16         37:11 46:20        107:15           24:8 32:3,18
         33:1,3,7 34:24     36:23             48:10,13,23      free 107:10        32:22 51:7
         36:4,19,24       falls 26:10         49:3,7 54:11     Freyre 1:20 5:3    53:18 61:15
         40:4,12 41:14    familiar 6:3        61:16,21 86:23     104:22 105:5     66:9 70:12
         46:20,23 47:7      11:19 17:17       93:6 101:3         105:19 106:6     79:12 88:3
         48:8,9 49:20       18:8 24:18     five 20:8,20 21:8     106:15 107:14    99:8,9
         49:22 50:4,10      27:24 31:21       92:20            front 13:10      goes 22:9 25:15
         50:13,21 53:10     33:10 40:16    five-minute           62:16            50:8 57:1
         53:15 55:6,17      53:12 55:8        56:15            full 5:22 9:18     77:17 99:13
         56:15,18 60:5      60:25 63:17,25 FL 2:5              fun 10:13        going 6:9 7:20
         61:7,8,11,17       64:2,3,9,10,14 flag 56:8           funny 59:8         10:14 13:8
         61:18,20,22        72:17          Florida 1:1,20      further 11:23      14:7 19:17
         62:19 63:4,10    familiarity         2:5 5:4 103:24     93:14 105:10     24:14 31:14,17
         65:18 72:8,9       91:16             104:3 105:3                         32:14 39:5,17
         72:12,15 73:23   fast 8:15           106:3,7,15               G          46:19 48:8
         78:20 97:17,24   February 30:2       107:16           G 4:10 50:4,10     53:9,17 55:5
         98:1 101:2         30:11 31:8     following 78:17       50:21            60:4,10 61:10
       Exhibits 3:3         35:13 36:15,20    79:21 82:24      general 16:6,14    70:8 76:6,8
       expect 43:22         39:2,7,11,12   follows 5:19          26:25 37:4       91:19 95:18
         44:8,11            39:13 42:21    foregoing 104:6       80:21 82:6       96:2
       expecting 79:20      57:9,24 58:3,5    105:7              83:5,16 100:13 good 49:14
       experience 9:6       58:6 59:2,21   forgot 80:10        generally 18:11    55:11 85:18
       experienced          68:18 74:19    form 4:6,9 16:5       29:23 33:9     good-faith 83:8
         51:9 78:18         77:24 86:8        19:15,17 32:6      66:22 76:18      83:11 98:5,10
       experts 83:22        96:14             32:24 39:25        91:12          grammatical
       Expires 1:21       feeds 70:5          40:5 42:2,8      generate 22:22     38:11,18 43:10
         106:16           feel 107:10         43:6 49:25       generic 57:25      43:13 44:8
       explained 89:1     Fenton 2:4          55:21 56:10        58:10 75:20      74:24 78:4
       explanation        field 83:22         57:25 58:2,25    getting 70:2     grammatically

      888.909.2720                       Anthem Reporting                        813.272.2720
                                        anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 114 of 124 PageID 813

                                                                                   [Page 114]

         38:14             83:15,22 85:9       55:15 56:3,9     huh-uhs 8:25       15:18 34:15
       great 8:23          90:11 91:8,18       56:14,20 57:5    human 6:18,24      36:24 37:3
       gross 80:13,18      99:14 100:22        58:4,7,17 59:6    24:9 86:6         65:5
         81:2,6,19 82:1   hear 87:14 94:4      59:19 60:21                       including 22:19
         82:7,12,15,20    heard 30:21          61:1,7,9,18,24           I          35:21,24 75:15
         83:3              86:23               62:3,24 63:5,7   idea 41:4 85:18    87:5 92:23
       ground 7:12 8:5    hearing 19:6         63:21 64:8,18    identification   inclusion 60:15
       groups 34:9         52:1                65:15,23 66:12     11:7 13:6      indemnification
       guess 53:4 76:21   heavily 99:2         66:14 68:1,6,7     14:17 17:16      18:21
         76:22 86:8        100:2               68:17 69:4,10      18:2,18 26:4   indicated 29:21
         99:23            held 11:10 56:19     69:16 70:6,10      32:20 33:1,7     93:11
       guide 98:8          68:4 78:11          71:17 72:3,7       46:23 49:22    individual 29:25
       guys 73:7,19       help 13:12 15:17     72:10,16 73:6      50:10 53:15      77:8 96:21
                           54:13 57:12         73:11,16,22        56:18 61:8     individually
              H            89:19               74:4,12 75:1       72:9,15 98:1     87:17
       H 4:1,11 10:19     helpful 13:17        75:10 76:15      identify 10:16   individuals
        11:6,7            helping 7:6          78:8,13 80:15      54:11 60:17      23:21 24:20,24
       H&W 4:20           helps 9:11,12        80:16,25 81:9    identities 23:21   25:16,25 54:22
       hand 5:7 25:12     HERETO 104:8         81:23 82:11,18     25:15            55:3 99:2
        25:22 99:23       Hey 55:10            82:25 84:4,16    identity 20:7,13 industry 27:3
       handful 75:7       Heystek 2:4 3:5      85:13 86:21      implications       83:22 85:15,24
       handled 15:23       5:21 6:1 8:4        87:3,23 90:2,7     66:3,11          90:5,11
        22:17              10:3,13 11:5,8      91:5 92:17       important 4:7    ineligible 80:18
       handy 13:18         11:12,13 12:21      93:19,22 94:5      4:10 8:25 33:4   81:2,19 82:20
       happened 28:22      13:4,7,22,24        94:6,15 95:3       40:13 50:7       83:3
        29:14 30:6         14:15,18 17:1       95:13 96:5,9     improvement      Info 4:7,10
        42:21              17:25 18:3,16       96:22 97:16        92:9           information
       happy 93:14         18:19 19:1,7        98:2 99:6        in-person 107:9    22:7,16,19,21
       hard 37:24          21:2,11 22:1        100:7 101:18     in-sourced         24:7,21,24
        38:10 48:19        23:18,19 25:5       101:22             22:24 99:25      25:2 32:7,18
        58:14              26:3,5,12 27:8    high 53:7 54:5     inappropriate      33:4,14,25
       head 54:8 71:4      28:7,25 29:6      high-level 21:15     65:22 66:2,5     34:3,10 35:19
        78:10 79:16        30:10,24 31:25      72:20            include 16:7       36:25 37:3,4,9
       health 7:7 9:22     32:2,8,21 33:2    highlighting         31:7 37:2        37:16,18,19
        9:22 10:7          33:8,18 34:1,6      15:10              40:19 52:25      38:4,7 40:6,8
        16:15,20 17:13     35:6,11 36:2      Hillsborough         60:13 61:4       40:13 41:15,24
        19:25 20:17        38:2,17,22          1:22 104:4         64:16,17 66:17   42:1,10,15
        21:12 22:20,20     39:9,22 40:3        105:3 106:3        69:12 76:8       45:19 47:9
        23:3,23 25:17      40:22 41:23       hoc 72:4             92:13 95:1       48:15 50:2,7
        27:2,25 28:9       42:6,17 43:5      honestly 99:12       96:15 100:25     50:20 51:4
        33:5 40:14         43:18 44:1,4      hopefully 7:19     included 37:12     52:23 57:1
        50:8 51:9          44:14,21 46:3     hours 89:5           37:19 39:1       58:1,10,16
        52:23 53:22        46:13,24 48:7     HR 7:3 9:4,15        46:1 66:24       59:1,7,9,12,17
        54:13,16,21        48:22 49:11,12      22:4,13,19         68:12,24 69:13   59:24 74:17
        57:16 69:19,24     49:20,23 50:11      23:2 24:9          79:5 86:19       75:14,14,18,21
        70:8,8,13,14       50:18 51:1,23       43:19 44:6         95:4,12 96:19    75:24 76:9,11
        72:13,20 78:17     53:14,16 55:12      45:10 63:22      includes 7:6       76:16,17,19,24

      888.909.2720                     Anthem Reporting                          813.272.2720
                                      anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 115 of 124 PageID 814

                                                                                    [Page 115]

         77:4,7,9,14,15   involved 25:25      key 46:18          knowledge        letters 92:6
         77:23 78:3         26:2 70:21,25     kind 24:11          18:20 19:9      Lewis 2:11
         79:4,18,24       involvement           25:14 37:24       21:10 47:6      Life 22:18 23:24
         80:6,8 81:13       16:13               45:5 69:23       known 61:2          24:7 79:17,24
         87:10 95:19      involves 63:24        74:6,13 85:15    knows 56:10         87:19 88:10
         98:23 100:17     involving 6:3         97:6                                 99:18,24
         101:12             74:8 86:23        know 7:14,16,16             L       limitations
       informed 79:6,7    issued 31:15          7:22 8:16        L 4:15 60:5 61:7    51:11 57:17
         79:17            issuing 88:24         13:16 16:9,23      61:8 65:18        69:20 72:24
       initial 4:13       italics 64:23,25      18:15,23 21:16   Labor's 61:12       73:9
         24:16 25:19      item 100:17           22:3 24:23         63:18 64:3,11 line 48:20,21
       inserted 59:13                           26:1 27:4,14     Lane 28:2,6,15      100:17 103:3
         59:24 76:5               J             27:17 28:14,16   language 29:16 lingo 77:3
       inserts 42:2       J 4:13 24:16          28:21 29:7,8       60:12          list 100:14 107:7
         47:23              26:3,4              29:10,11,16      Large 5:5        listed 24:22
       instance 37:10     January 1:21          30:4,5,8,14,17   law 26:8,20         25:20 99:14
         38:25 45:15        10:24 18:6          31:10,12 33:23     97:11 98:12       100:23
       instructed 66:21     20:22 47:14,16      35:24 38:12,13   laws 26:16 84:2 litigation 74:8
       instructing 56:5     106:16              38:21 39:20      lawsuit 86:23    little 7:4,20
         56:5             Jeanice 1:20 5:3      40:2,18 42:13    lawsuits 30:6       11:23 18:9
       instructs 8:9        104:22 105:5        42:25 43:2,4       61:3 85:10        21:18 23:7
       insurance 78:17      105:19 106:6        43:10,17 44:11     86:3,10,16,18     25:3 34:18
         87:6 88:1          106:15 107:14       44:18,19 45:3      86:20 92:18,25    48:11,25 68:16
       integrations       Jeremy 2:10           45:6,7,18        lead 27:23 28:8     69:24 101:6
         20:4               10:17 45:22         46:11,14 48:4      28:12,14 91:16 LLC 17:13
       interact 27:19       107:2               48:20 51:17      leader 89:18     LLP 2:11
       interchangeably    Jeremy.Blume...       52:3 53:3,6,8    leaders 90:11    long 6:19,25
         24:12              2:12 107:3          54:7 56:7,9      leave 13:12         28:8 65:12
       interested         Jessica 6:2 46:21     57:4 58:5,5,19     93:20 95:20,23    76:19
         105:14             50:1,6,20           58:23 59:16,20     96:6           longer 29:24
       internal 27:4      job 7:4 63:24         59:23 61:6       legal 56:12         66:23 67:3
         83:17 84:6,10      64:9,14 85:15       64:15 67:20        65:21 75:19       69:1 94:24
         84:17 85:4       Julie 1:11 5:17       68:16 69:15        82:10 91:22    look 15:9 40:4
         91:23              5:24 46:5 63:2      70:15,16,17,20   legible 9:2         40:12 79:6
       internally 27:1      103:1 104:13        71:4,16 72:2,6   lengthy 17:4        85:1,1 92:8
         92:3               106:8 107:2         74:7,15,21,24    let's 13:4 14:15 looked 27:15
       interpret 66:10    July 1:15 103:1       75:6,6,7,23        17:25 18:16       35:3 55:20
         81:6 82:1,17       104:21 106:9        76:22 79:15        20:6 21:18        57:6 58:11
       interrogatories                          81:5,11,18         23:20 26:3        59:8 65:17
                                 K                                 32:22 40:4,12
         53:11 63:14                            83:21,25 84:1                        75:12 78:19
       Interrogatory      K 4:14 97:24          84:15 85:3,7       51:7 53:14     looking 12:6
         53:20             98:1                 85:12 87:22        56:14,15 61:7     21:23 25:3,10
       involuntarily      keep 38:23 39:5       90:10 92:7,16      72:7 78:14        25:14 28:24
         81:7              39:17 58:4           93:7,25 98:16      87:16 93:6        44:23 46:16
       involuntary         73:18 85:14,24       98:24,24 99:1    letter 29:21        56:9 70:15
         80:7             keeping 45:6          99:3,12 100:3      79:14 95:11       80:22 84:21
       involve 9:5        keeps 39:3            100:21             101:17            101:2

      888.909.2720                      Anthem Reporting                           813.272.2720
                                       anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 116 of 124 PageID 815

                                                                               [Page 116]

       looks 31:23     Market 2:11         80:13,19 81:3   63:5 69:6           55:18,21 56:10
         48:13         master 4:16,18      81:6,19 82:2,7  98:23               56:25 57:8
       loss 36:8 38:6   17:12 18:5         82:13,15,20    neither 88:19        58:25 59:11,25
       lot 19:24 23:9,1383:23 90:18,23     83:3            95:4                61:13 62:7,10
         25:24 55:13   matter 94:14       missed 24:5     never 60:22          62:11 63:18
         65:22 75:24   matters 15:24      misunderstan... non-personali...     64:4,11,17,20
         76:3 91:15    maximum 60:13       41:8            77:13 78:2          65:5,10,11,13
       low-level 21:18 mean 20:25 34:8    misunderstood   non-privileged       65:22 66:16,20
                        37:23,23 41:20     52:6            14:25 20:12         67:5,7,11,22
              M         58:6 66:10        mobility 7:6,8  non-substantive      68:9,12,22
       M 2:10 4:16      75:3,22 79:12     model 4:24       75:3                70:19,23 72:22
        17:11,25 18:2   83:14 90:21        61:11,12 62:6  noncompliant         73:24 74:16
       M-I-L-L-E-R      98:14              62:9,11 63:18   19:11,15 25:7       75:19,23 76:23
        5:24           Meaning 63:2        64:3,11,17,20  normal 107:10        77:17 78:21
       Ma'am 5:22      means 66:6          65:5,10 67:4   normally 32:9        79:2,20,25
       Madam 44:1      meant 19:18         67:10 98:8     nos 8:24 41:14       80:2,5 83:9,11
        68:2            39:13 67:18       month 47:4      notarize 107:8       86:3 88:24
       mail 35:5 79:21  79:25 80:1        monthly 84:20   Notary 1:20 5:4      89:8 94:18
       mailed 50:24     82:8,12            84:25           104:19 106:7        96:14,24 97:10
        75:23 79:16    meetings 70:22     months 29:23     106:15              98:8,11 101:3
        83:19 84:8,18 member 20:5          30:1 66:22     noted 93:10         notices 9:6,9
        84:22           91:13              67:12 71:22    notes 105:9          14:21 15:14,18
       mailing 55:2    memory 17:3        Morgan 2:11     notice 4:3,5,8,24    16:21 19:22
       main 107:6       29:8 42:19        motion 66:3      6:3 11:17           21:8 22:6,23
       maintenance      90:16             mouth 34:7       13:17 14:3          23:3 24:25
        71:20,21       mention 92:11      move 23:20       16:9,13,18          25:11 27:7
       making 70:18    mentioned 98:8      31:14 56:22     19:4,11,18          32:10 34:21
        80:23 96:2     MIDDLE 1:1          78:14 101:6     20:9 21:19,20       35:17,24 37:25
       manage 9:13     miles 71:22        Moving 57:14     21:25 25:7,22       42:14,16 45:5
       management      Miller 1:11 5:17   MTD 4:15         26:7,20,21          48:14 54:2
        24:10           5:24,25 11:16     multiple 12:4    27:13,16 28:18      57:15 61:3
       Manager 6:24     13:19,25 18:4      17:22           29:2 31:16,19       67:14 68:19
       manner 16:22     24:15 32:11                        33:24 34:14,20      69:3,18 70:3
        96:25           39:10 41:1                N        35:13 36:1,8        71:3,14,24
       March 86:8       44:22 50:12       N 2:5 3:1 4:17   37:13,20 38:5       74:9 75:12,19
       mark 13:4 14:15  56:21 62:4         18:16,17        38:25 39:18         76:1 83:18
        72:8 97:18      63:9 65:25        name 5:22,23,25  40:15,19 41:2       84:2,7,11
       marked 10:15     66:15 75:11        32:16,25 36:4   41:3,6,15           86:10,15,24
        11:7 13:6       93:16,23 97:18     47:12 59:9      42:23 43:12,14      89:22 94:22
        14:17 18:1,2    101:19 103:1      narrative 72:14  43:20,23 44:7       96:19 101:1
        18:17 26:4      104:13 106:8       91:24           44:17,23,24,25     notification 3:9
        32:20 33:1,7    107:2             narrowed 92:21   45:15,20 46:2       23:22 25:16
        41:13 46:23    Miller's 46:5      necessarily      46:21 47:2          107:1
        49:22 50:10    mind 45:6           65:12 90:1      48:1,10 50:5       notifications
        53:15 56:18    minute 11:9        necessary 45:25  50:23 51:11,18      20:2 84:21
        61:8 72:9,15    57:7 99:7          107:8           51:25 52:8,16       99:4
        78:20 98:1     misconduct         need 8:18 54:13  53:22 54:11,17     notified 43:22

      888.909.2720                  Anthem Reporting                          813.272.2720
                                   anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 117 of 124 PageID 816

                                                                                [Page 117]

        44:9,15 45:19    46:8 48:3,18      8:3 9:8 11:5     open 93:20        58:1,11,21
        46:7,10,11,14    50:15,22 51:21    12:14,22 13:4      95:21,24 96:6   101:3 105:8
        56:24            53:19 55:25       14:7 17:25       operating 92:2   paid 107:9
       notifying 43:7    57:3 58:2,13      18:12,16 23:15   operation 7:5    paragraph
       November 17:14    59:3,15 60:19     24:2,5,20        operations        36:20 37:11
        47:1             60:24 61:5        33:12 34:2,16      89:19,24        38:13,13 47:19
       number 1:21       63:20 64:5,13     35:2,12 36:3     opinions 66:10    47:23 48:24
        9:16 17:15       65:8,20 66:13     36:11,23 37:15   opportunity       49:3,7
        29:10 36:7       66:19 67:24       39:12,16,23        97:7 98:6      paragraphs 37:5
        37:25 42:14      68:13,23 69:7     40:11,23 41:8    order 4:15 60:5   37:5 47:18,20
        45:3 51:8,17     69:14 70:1        41:12 44:5         60:11,23 65:17 part 8:25 10:14
        51:22 52:14,15   71:15 72:1,5      45:23 46:19        65:24 66:5      12:8,19 13:21
        53:3,6,8,21      74:11,20 75:5     47:7,12 48:23      107:10          16:8 17:9,22
        54:8,14 57:11    76:14 78:6        49:6 52:16,19    organizational    40:6 41:3,5,15
        61:25 79:5       80:14,20 81:4     54:10,15 58:18     89:18           42:8,23 50:23
        98:18 99:8,12    81:20 82:9,14     59:20,23 60:3    original 61:19    50:24 63:24
        99:17 100:13     82:22 83:4,13     61:20 62:6,14      61:22           64:9,14,21
        100:14,19,25     84:13 85:11       63:12,17 64:19   outlined 17:23    67:4,10 87:15
        101:4,10         86:17 87:1,21     65:4,16 67:20    outside 65:21     92:7 95:11
        106:16           89:23 90:6        70:11 71:12        71:9 74:16     participant
       numbers 48:16     91:3 92:15        72:19,22 73:15   outsourcing       35:18 36:25
        52:19 80:8       93:9,20 94:2      73:17 74:3         88:10           42:10 67:21
        99:11 100:4,11   94:11,21 95:9     76:16 77:13,20   oversee 7:5       75:25 77:8
                         95:17,24 96:18    78:9,14 79:10      89:20           82:5 97:1
               O         97:13 98:13       79:23 80:3,10    oversight 23:6   participants
       O 4:19 55:6       100:6             82:7 83:7 84:5   overview 22:11    15:19 35:14
        56:15,18       objections 4:22     84:10 87:4,24      72:14,20        37:20 38:8
       Oath 3:8 106:1    13:16 14:2,10     88:16 89:11                        43:21 51:8,18
       object 8:7        14:10 63:15       92:18 95:14              P         52:7 53:21
       objected 13:20    73:23             96:5 97:17,23    P 2:10 4:20       54:3 57:16
        93:10          obligation 26:15    100:2,8,11         72:12,15 107:2  69:18 98:12,21
       objection 8:1,8   26:19             101:12,18        P.A 2:4          particular 35:20
        8:11 10:1      obligations 84:1   omitted 68:20     PA 2:12          particularly
        12:17,25 16:19 obviously 13:18     94:18 95:7,10    page 3:2 4:2      44:12
        18:22 20:24      17:2             on-the-job          11:21 15:10    parties 105:11
        21:9,21 25:1   occurred 45:4       91:15              31:24 34:12    parties' 105:12
        25:23 26:9,24 offer 98:15         once 10:15          36:19 41:25    parts 40:18
        28:20 29:5     offering 80:24      70:14              47:17 53:19    party 26:11
        30:9,20 33:16    82:2,4 83:5      One's 12:22         60:10 61:16,21 pause 8:7
        33:22 34:5       93:11 95:25       15:13 26:15,19     61:25 62:16    pay 79:4 100:16
        35:4,9,16        96:1              34:2 52:20         64:20 101:5    penalty 5:11
        37:22 38:9,20 office 2:6,13        53:10 97:4         103:3 104:1    people 9:16,19
        39:6,19 40:1     107:6             98:10            pages 1:13 32:6   24:22 25:20
        40:17 41:19    offices 107:11     ones 73:8,18        32:16,19,25     51:24 54:17
        42:4,12 43:3   oh 8:2 9:18         75:8               33:6 40:15,21   57:6 67:21
        43:16,24 44:10 oil 71:22          ongoing 16:6        46:21 48:10,14  68:8 70:11
        44:20 45:21    okay 6:6 7:12       19:24              50:5,21 51:3,3  76:6,8 100:4

      888.909.2720                  Anthem Reporting                           813.272.2720
                                   anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 118 of 124 PageID 817

                                                                                    [Page 118]

       performance         100:25 101:10      plus 52:25         printed 30:1       94:1,9
        9:13               107:11             point 8:12 13:22   prior 23:24       provide 14:24
       performs 9:23     phrase 60:15           29:18 41:13       60:23 68:18       14:25 16:15
       period 15:2,5     piece 32:7 34:3      point-person        73:25 74:8        20:12 21:13,16
        20:14 28:23        40:6 58:10,15        27:19,20          85:10,23 86:1     22:15,18 95:18
        29:22 32:11        75:18              pointed 36:3        89:14 93:10,23   provided 15:1
        35:12 37:21      pieces 32:3            55:19 99:17       94:8              20:13 21:16
        38:8 39:25         33:10,14,20,25     points 65:13       probably 13:8      41:6,9,22,22
        42:11,23 44:13     35:19,23 55:18     policy 81:8         28:2,11 37:12     52:23 54:9
        51:12,15 53:23     58:20 76:4         portion 32:5        45:13 56:11       57:15 65:14
        55:23 57:18,20     78:20              portions 14:12      69:5              66:20 67:15,20
        57:22 58:9       place 8:8 30:18      position 6:16,17   problem 8:18       67:25 75:8
        60:1,14 67:23      55:11                6:20 7:17        problems 48:12     80:7 87:10
        68:9 69:22       placed 58:21           12:22 56:13      procedure 92:3     88:14 107:8
        71:5,9,10        Plaintiff 87:16        89:15            procedures        providing 15:16
        72:24 73:1,9       95:19              potential 27:5      44:25 88:23       15:18 23:2
        83:20 88:25      Plaintiff's 12:9     potentially         97:5              79:18
        95:5 97:5          14:2 78:18           85:21,25         proceed 5:15      provisions 16:23
        99:16,17,22,23   plaintiffs 1:4 2:3   practice 16:7,14   Proceedings 3:4    18:24
       perjury 5:12        6:1 24:22            26:25 80:21       5:1              Public 1:20 5:4
       person 81:5,10      25:21 31:16          82:6             process 4:20       104:19 106:7
        82:1,17 89:3,7     78:16 87:5         practices 83:5      9:12 21:19,24     106:15
       personal 35:18      93:4,13,24           83:16 91:20       22:10 23:2       publish 99:11
        37:9 42:15         94:1,8 95:15         92:4,11,13        27:22 28:8,12    purposes 10:6,9
        77:15 79:3         96:1,3               98:17             28:14 69:17,24    34:2,19
        80:3             Plaintiffs' 87:6,7   preceding 73:9      70:2,7 71:12     put 32:4 34:7
       personalized      plan 4:11,20         premarked           71:23 72:13       48:8 49:9
        32:17 36:12,15     10:21 11:2           10:19 14:1        83:1 89:1
        36:25 37:2,15      15:2,20 22:22        17:11 24:16       91:16,16,19,24           Q
        38:4 40:8          31:15 34:20          31:18 32:15,23    92:8 107:12      qualifications
        41:15 42:1,9       35:14 36:25          46:20 49:21      processed 22:14    91:6
        47:9 48:15         37:19 38:7           53:10 55:6        22:20            qualify 33:21
        50:2,14,20,24      42:10 43:21          60:5 61:11       processes 23:6    qualifying 23:23
        51:4 57:1,23       51:9 52:7            72:12 97:23       71:7 72:21        25:18 35:15
        58:1,20 59:1,4     53:22 54:2         premiums 15:25      83:17 84:6,10     44:25 51:9
        59:7,9,12,17       57:16 67:21        preparation         84:17 85:4        53:24 78:18
        59:24 74:16        69:19 72:13          12:5              97:4              87:7 88:24
        75:14,17,21        82:5,5 97:1        prepared 12:1      produce 14:11     question 6:11
        76:8,11,17         98:11 101:15         14:24 20:11       16:21 20:11       7:21,24 8:8,10
        77:7,22          plan's 20:13           97:3              54:14             8:20 21:14
       personally 86:4   Plans 17:14          preparing 12:3     produced 12:11     30:22 33:17
       perspective       play 23:7 69:25      present 73:10       12:15 17:9        39:14 43:25
        26:14            players 83:23        pretty 17:4 72:4    18:6 23:3         44:3 46:12
       Philadelphia      plays 20:9 70:17     previous 30:6       40:24 41:4,7      49:17 52:5
        2:12             please 5:7 13:14       60:6             PROFESSIO...       53:18 55:13
       phone 88:7,14       39:15 101:8        previously 43:8     106:6             62:22 64:6,7
        99:17 100:14       107:6,9              100:1            proper 93:4,8      67:13 68:3,6


      888.909.2720                     Anthem Reporting                            813.272.2720
                                      anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 119 of 124 PageID 818

                                                                                  [Page 119]

        82:23 83:25     receive 86:19        60:15              5:9,14 8:13        4:19,22 14:2
        94:4 99:17      received 22:21     regulations          23:11,15 28:3      53:11 55:7
       questions 7:15     36:1 51:18,24      26:16 27:7         44:1 68:2 94:3     63:15
        15:23 20:4        54:17 57:8       relate 27:7          105:1,5,19       responsibilities
        30:21 55:13       67:22 68:8       related 15:24        106:7              16:24 90:21
        56:22 66:9        79:2,2,14          86:18            REPORTING          responsible
        77:5 88:12        86:14 94:18,23   relates 14:21        103:23 107:15      16:17 17:6
        91:22 93:10,16    96:14,16 99:5      83:9             represent 31:18      23:21 25:11,15
        94:17 96:12       100:24           relation 87:6        32:2 49:24         25:16 26:7,11
        97:3 98:21,22   receives 77:17       88:1             representative       89:21 90:17
        99:1,3,15       recess 56:19       relationship         1:11 6:7 11:18   rest 37:17
        101:11,14,19    recipient 76:24      14:20 90:13        14:3 22:4 93:5   restate 30:22
        101:21          recommendati...      91:2               93:8 94:10,13      33:17 43:25
       quick 10:17        92:9             relative 42:23       96:7               52:5 64:6 68:6
                        record 5:23 8:8      105:10,12        representatives      69:9 82:23
               R          10:16 11:6,9     relevant 15:2,5      93:13              87:14
       R 4:22 14:1,16     11:11,12 13:5      20:14 32:10      represented        restated 10:24
         14:17 15:9       14:16 18:1         35:12,19 37:21     65:13            restriction 85:17
         73:23            22:13 24:12        38:8 39:25       reps 16:7          result 53:23
       raise 5:6          32:4 37:10         42:11 44:12      request 12:9,20      74:22 81:8
       raised 83:8        40:23 68:5         51:15 55:22        16:22 55:7       RETURN
       random 71:18       78:12 97:25        57:20 58:8         56:2               103:22
       range 54:12,18     104:9 105:8        65:13 67:23      required 64:16     review 26:20,21
       rates 107:10     records 30:12        68:9 69:21         67:9 83:19         71:13,24
       read 44:2,3      refer 13:18          71:10 73:1         84:3,24          reviewed 12:3,5
         48:20 49:1,4   referenced           76:24 77:1       requirement        RFAs 4:19
         49:15 63:12,14   107:5              97:5               60:12            right 5:7,25 6:7
         65:24 69:2     referencing        relied 98:8        requirements         6:9 8:6,23 9:4
         101:22,24        73:22            rely 90:4            95:16              9:25 10:2,9,11
         104:6 107:6,7 referring 70:3      relying 16:14      requires 64:2,10     10:13,23 11:14
         107:7,9,11       77:14 101:11     remember 90:9      resigned 81:17       11:16 12:1,12
       reading 3:9      refrain 66:13      remote 2:1           81:22              14:7,15 15:6
         44:22 73:5     regard 86:20         85:20            resource 92:1        15:10 17:19
         107:1            87:24            remotely 1:22      resources 6:18       20:18 23:25
       really 23:5 49:1 regarding 14:25      5:2                6:24 54:16,20      29:15,25 31:14
         58:14 82:24      20:12 24:24      Rep 4:4              55:1 70:15         32:15 34:22,24
         89:16 94:12,13   30:7 35:20       repeat 36:19         80:8 86:6          35:3,8 36:9,12
         98:3             56:25 61:3         39:14 68:2         91:23              36:16 37:1,7,7
       reason 23:4        78:4,16,23       repeated 47:17     respect 91:7,11      37:13,14 38:8
         34:17 41:1       86:14            rephrase 7:23        93:12              41:16 42:3,7
         47:4 80:22     regards 6:2          19:8 22:2 44:5   responded 92:22      43:2 44:9
         83:11 93:7       19:22 21:7         63:5 64:6        responding           45:11,15,20
       reasonably         22:5 78:19         80:15              51:15 73:17        47:5,14 48:2,8
         14:24 20:11      97:11 107:13     report 105:7         82:15              49:15 50:3,4
       reasons 34:9     regular 16:5       Reported 1:19      response 12:9        52:1,13,17
       recall 71:1        85:8               104:22             29:15 73:20,23     53:14 54:1,10
       recalled 88:5    regulation's       reporter 3:7 5:6   responses 4:12       54:12,18,23

      888.909.2720                   Anthem Reporting                            813.272.2720
                                    anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 120 of 124 PageID 819

                                                                                    [Page 120]

         55:3 56:14       S 4:1,24 61:11       36:4,9,21          18:5 20:3,5,13     83:2 100:20
         57:14 58:12        61:20 72:7,8,9     47:19 48:11,19     21:12,17 72:21   SOPs 92:3
         59:2,21,22         107:15             49:9 60:18         83:23,25 90:18   sorry 8:2 15:7
         60:3,22 61:24    sake 40:11 81:17     61:14,24 62:4      90:24 91:19        19:5 23:11
         63:13,17,19      sample 84:20,21      64:21 65:2,9       99:4               28:3 32:12
         67:4 68:22         85:1               85:2             sets 75:14           41:8 43:25
         71:8,10,11,21    satisfies 60:12    seen 7:19 14:5     share 10:14          45:22 49:1
         74:19 75:21      satisfy 95:15        60:8 62:7,11       11:15 24:14        52:5,10 56:1
         76:11,19 77:25   saying 14:9 38:3     62:14 63:1,3,8     25:3 60:3          67:24 69:8
         78:5 79:25         41:25 42:22        63:10,16 67:14     98:15              79:11 85:18
         80:5 81:14         58:4 73:18         69:3 97:21       shared 43:8          87:13 89:4
         87:19 88:21        76:4,12,20,22    send 22:7 23:25      83:14 86:11        94:3
         89:3,5,12 90:3     78:10 101:4        24:13 32:9         88:11 92:1       sort 33:9 75:3,13
         90:5,19,20       says 17:3 31:24      69:18 84:2       sheet 3:6 103:2    sounds 6:11
         91:1 94:16         33:4 44:24       sending 19:23        107:8,8          South 103:23
         95:5,8 100:9       64:21,23,24,25     24:3 25:8        shorter 29:24      space 90:12
         100:12 101:2,5     65:19 67:5,6     sends 24:6,7         66:23 67:2       SPD 4:21
         101:8,16,18,22     73:2 74:5          34:11 42:8         68:25 94:24      speak 14:12
         107:6              101:14             97:10            show 31:17           26:21 75:20
       rights 33:5        Schaffer 1:20      Senior 6:24          32:14,23 46:19     94:13
         40:13 50:7         5:3 104:22       sent 16:10 31:19     53:9,17 55:5     speaking 66:12
         91:8 101:13        105:5,19 106:6     33:3,14,20,23      60:4 61:10         77:4
       Roggs 4:12           106:15 107:14      34:21,22 35:2      66:5             speaks 69:11
       role 6:22 9:4,8    schedule 26:21       35:7,14 36:6     showed 50:14       specific 12:6
         15:13 20:8         71:21 85:22        37:25 40:7       showing 11:17        20:2 21:14
         69:25 70:17        107:10             41:2,3,10,16       13:25 17:10        26:13 28:23
         86:7 89:14,17    scope 17:20 21:6     42:14 43:20        18:4 24:15         35:18 41:17
         92:7               65:21              46:21 47:2,4       50:4 72:11         53:18 67:14
       roles 90:21        scratch 89:12        50:6 51:10       side-by-side         69:1,3 76:9
       Roubert 4:8,9      screen 10:14         53:22 66:16        48:9               94:17,25 95:1
         4:10 6:2 16:10     11:15 13:13        68:19 78:15,21   sign 107:6,8,9       95:4 96:21
         46:21 47:2,10      24:14 44:24        78:23 79:8         107:12             100:14,17
         49:4 50:1,6,20     45:1 49:2 60:3     80:4 81:12       SIGNATURE          specifically 31:5
         51:4 58:12         62:25 65:9         83:19 84:22,23     104:1              42:21 77:10
         66:17 67:16,18   scroll 11:20,23      84:24 92:6       Signed 104:16        85:5 89:25
         75:13 81:16        17:21 18:9         98:11 100:15       106:11             99:11
         86:25 87:25        32:12 56:1       sentence 60:18     signing 107:1,7    specifics 28:13
         88:1,16,20         60:10              65:9             similar 58:18      specified 74:1
         94:17 96:16      search 45:13,14    separated 34:17      96:15            spell 5:23
       Roubert's 68:22      46:10,15,16,17   separately 34:8    sit 58:25 74:18    spoke 100:20
       roughly 25:8         46:18              34:18              81:1 93:23,25    spread 75:19
       rule 8:5 66:3      searching 46:5     served 13:16         94:7 96:10       staffed 99:20,24
         95:15            second 20:6        service 21:16      sitting 45:17      standard 40:18
       rules 7:13           44:25            services 4:16,18   slow 8:16            92:2
       ruling 66:2        section 43:12        12:19 13:3       small 48:19        start 36:8 72:11
                          see 10:21 11:20      15:1,17,25       somebody 22:6      started 88:8
              S             25:14 27:15        17:7,12,13,24      80:23 82:20      starting 14:19

      888.909.2720                     Anthem Reporting                            813.272.2720
                                      anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 121 of 124 PageID 820

                                                                                    [Page 121]

         23:1 39:2           104:8            system 22:13        97:8 98:9          47:7 68:1
       starts 40:12        subscribed           24:10,12        telling 78:3         80:10 84:5
       state 1:20 5:4,22     104:16                             template 59:13       85:15 98:14
         94:9 104:3        subsequent                  T          76:5,7           things 34:11
         105:3 106:3,7       40:20            T 4:1             template's 76:6      36:9,11 74:24
         106:15            substance 39:25    table 8:20        templates 16:15      75:2 90:20
       stated 15:15          43:23            tailored 35:17    tenure 86:13         97:8 98:6
         41:20 51:14       Substantially      take 8:20 16:5    tenured 91:13      think 21:15
         74:21 78:7          58:18              30:18 38:3      terminated 22:6      26:14 29:18
       statement 11:1      substantive 29:3     49:18 53:7        81:7 88:2          30:2,21 31:4
         76:18               38:19,24 44:7      55:11 56:15     terminating          34:12 39:6,7
       statements            44:16              65:12 87:16       15:19 82:6         43:8 45:22,25
         90:25             sued 86:24           93:6              83:6               46:9 47:4 52:6
       states 1:1 60:11    suggest 41:10      taken 5:2 71:13 termination            53:6 56:6,12
         101:17              60:16              76:25 104:21      35:21 47:13        60:9 61:16
       statute 51:11       suggested 65:11    takes 97:9          48:2 60:16         62:21 63:15
         57:17 69:20       suggestions 66:6   talk 8:12,15 27:4   75:16 76:10        64:14 71:6
         72:24 73:8          67:11              34:8,18 77:2      77:16 79:9,18      73:3,19 74:7
         92:21             Suite 103:23         98:3,4            79:22 80:4,7       77:20 79:21
       stay 27:6             107:15           talked 68:2         80:22 92:24        80:10 81:16,25
       stayed 71:7         summarize            69:23 71:5        94:19              84:14 87:9,17
       Ste 2:5               33:24              77:20 86:12     terminations         88:8 89:1,17
       Stenographer        support 15:21        91:12 98:7        22:12,19,22        90:3,4,10,19
         5:3                 17:23 96:8       talking 10:10     terminology          91:12,25 92:21
       stenographic        supporting 7:8       27:2 38:16        94:12              96:4,10,11
         105:9               83:8               46:25 54:6      terms 18:23 20:9     97:2,6,14,17
       stenographica...    supposed 80:5        90:13             24:20 26:6         98:7,14 100:24
         105:6             sure 5:24 6:14     Tampa 2:5           27:11 45:14        101:19,20
       stop 6:11             7:5 9:1 15:8       103:24 107:16     46:6,18 56:12    thinking 45:2
       stopped 11:15         17:4 21:22       team 7:6 9:10,12    91:9             thinks 83:11
       Street 2:11           22:2 25:6          9:16,18 16:1    testified 5:18     third 32:7 36:19
         103:23 107:15       30:22,25 38:3      16:12 25:22       66:7             third-party 9:10
       struggling 46:9       49:3 56:17         26:6,7,13       testify 14:11        9:20
       subcontractor         69:11 77:1,21      27:23 28:10     testimony 5:10     thought 68:15
         9:22 15:16          78:9 82:24         89:19,25 91:9     14:25 20:12      three 26:13 32:5
         18:25 70:9          83:1 84:7,18       91:13,14,14,22    39:8 86:22         32:16,19 33:10
       subcontractors        84:22 90:15,16     92:1              87:10 104:9        33:14,20,25
         90:23               97:9 98:5        tell 7:3 12:2     testing 90:16        35:2 46:20
       subcontracts          100:8              15:12 20:1,16 text 29:12             48:10,13 55:18
         9:24              Susan 1:3 6:1        21:19 29:19     thank 23:16          71:22 78:20
       subject 5:11          24:22 31:19        39:1 42:14,20     41:12 49:14        101:3
         14:10 73:4          32:16,24 33:23     43:15 48:11       56:21 101:24     time 8:6,6 14:8,8
         93:12 96:1          36:5 55:18         55:24 57:7      thanks 63:6          24:23 25:21
       subjective 100:9      100:15             58:8 69:24        66:12              27:3,4 28:23
       submitted 12:19     swear 5:9            74:17 77:23     thing 8:19 11:14     29:22 38:15
         63:11             sworn 5:18           81:6 83:10        11:16 22:7         44:13 49:10,18
       SUBSCRIBE             106:10             89:25 92:13       32:4 41:12         51:20 55:22

      888.909.2720                      Anthem Reporting                           813.272.2720
                                       anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 122 of 124 PageID 821

                                                                                      [Page 122]

         58:21 59:18,25      39:5,18            14:13 21:22       violation 81:8
                                                                              wanting 23:5
         83:20 84:3,24     training 86:14       51:2,22 66:25     violations 92:20
                                                                              wasn't 56:10
         85:21,21,25,25      86:19 91:6,10      69:8 76:12,19     Virginia 17:14
                                                                               69:12 89:16
         88:11 91:21,21      91:15              76:21 77:6,11     visually 106:8
                                                                               95:11
         99:16,16,22,23    transcribed          77:14,18 81:21    voluntarily way 11:15 28:24
         101:20              107:6              89:6 93:17,19       81:21      44:7 49:8
       time-to-time        transcript 3:9       94:12             vs 1:5       73:12,19,20
         91:17               9:1 104:8        understanding                    77:3 82:16
       timeliness 92:6       105:8 107:6,7      14:23 15:3           W        ways 65:22
       timely 16:22          107:7,9,10         17:7 20:10    Wage 9:22,25     74:14
         84:8,19           TRANSCRIP...         22:8 33:12     10:6,10 12:16 we'll 96:3
       today 45:17           104:6              35:1,10 47:24  12:24 13:2      101:24
         49:15 58:25       transferred 88:9     65:10 67:9     14:20 15:1,13 we're 7:20 14:7
         60:23 62:8,12     transpired 44:13     77:4 83:25     15:15 16:2      25:10,14 34:12
         62:15 63:1,8      travel 85:16         88:22          18:21 19:14,22  38:16 40:4
         68:10 74:17       trouble 19:5       understood 7:24  19:25 20:17     73:11,16,18
         81:1 86:22          87:14              97:1           21:12 22:9      74:1 80:21,24
         93:23,25 94:7     true 42:7 57:24    undertake 91:11  23:25 27:2,12   82:2 83:5
         96:10               105:8            undertook 96:24  28:9 30:7,19    84:21 89:5
       told 6:10,13 54:2   truth 5:10,11,11   UNITED 1:1       31:1,6 32:9     93:11 96:1,2
         59:21 71:7        try 53:18          unrelated 23:8   33:15 35:7      97:11
         74:14 87:17       trying 29:1 34:4   use 9:2 10:10    37:17 40:7     we've 7:18 13:20
         90:3 91:9 97:2      34:10,13 42:19     22:21 39:17    42:2,8 43:6,15  20:15 21:16
       top 11:20 32:18       59:8               100:3          43:19 44:6,16   55:19 57:19
         34:24 37:11       twelve 58:1,11     uses 71:24       45:14,20 46:22  73:1 74:13
         47:1 54:8           58:21            utilized 55:20,2247:21,21 55:1   75:12 78:19
         61:25 71:4        Twenty-six 7:2       69:18 72:23    57:12 59:13     88:25 97:6
         79:15             two 26:13,22         99:2 100:2     68:20 69:23     98:7,17
       topic 13:20           30:21 32:25                       71:2 74:9 85:9 website 98:19,20
         14:19 20:6          47:18,20 48:13           V        89:9 90:4,14   Wednesday 1:15
         23:20 31:15         49:16 75:13      v 60:6           92:12,12 99:9   103:1 104:21
         34:19 46:25         79:21 89:5       Valdivieso 4:15 waive 101:23     106:9
         51:7 56:23          90:20              60:6          walk 22:10      week 23:1
         57:14 69:17       types 28:22        various 15:18   want 6:14 7:16  weekly 23:1
         72:22 73:2          75:16 91:1         28:22 29:24    8:7,12 9:1     weeks 79:21
         74:5,6 78:14      typically 27:6       79:19 92:4     10:16 32:3,22 welfare 4:11 7:7
         83:7 85:22                           vary 37:8        34:7,8,18       10:20 11:2
         87:4 88:23                U          vehicle 71:20    39:14 41:12     72:13,21
         91:6 93:21        Uh-huh 11:24       vendors 23:10    53:18 56:8,15 went 54:3 87:11
         95:21               18:10 23:17        23:14 27:19    65:24 66:8      101:4
       topics 7:18,18        49:18            version 11:4     67:17 74:7     Wenzel 2:4
         13:9,19 14:8      uh-huhs 8:24       versus 20:3      77:2,21 90:15 witness 5:8,8,13
         14:12 56:7        ultimately 88:9    videoconference  90:16 93:15     13:20 23:13,17
         93:18             understand 6:6       1:9 5:2 102:1  95:24 97:7,24   28:5 56:5 66:2
       total 7:1 52:16       6:15 7:14,22     view 41:20       100:8 101:22    66:4,7,8,10
       touch 70:12           9:15 10:10         75:22 76:23   wanted 78:9      73:18 93:11
       track 38:23 39:3      11:3 12:7          83:21          97:18 98:5      95:25 96:1

      888.909.2720                      Anthem Reporting                             813.272.2720
                                       anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 123 of 124 PageID 822

                                                                                 [Page 123]

       Witness's 39:8     69:6 89:25      106 3:8             86:8 89:3,12      300 2:5
       wondering          95:10           107 1:13 3:9       2020 29:18,20      32 4:5
        25:21            write 37:4       11 4:11 33:6        30:2 31:8         33 4:6,7 40:25
       word 38:12,13     written 67:7,10    87:4              35:13 39:11,12      41:14,25
        59:9 65:12,12     78:15 96:25     11:55 1:17 102:2    39:13 42:22       33602 103:24
       words 34:7 90:9   wrong 31:4       1110 2:5            57:9 58:6 59:2      107:16
        100:3                             12 40:14 50:5,21    59:21 68:18       33602-3343 2:5
       work 6:23 9:13            X          51:3 88:23        74:19 77:24       3rd 22:15,24,25
        17:20 21:6       X 3:1 4:1        12(b)(6) 66:3       96:14               23:24 24:2
        22:7,14 23:10                     13 4:4 91:6        2021 15:6,9 25:9     99:25
                                 Y
        24:8,9,11,13                      14 4:23 92:18       28:19 29:4
        90:25 91:22      yeah 29:10       15 93:3             30:12 39:10               4
       worked 6:25         34:14 37:8,9   16 95:14            51:16,25 52:9     4 3:3 31:15
       workflow 22:3,5     47:3 49:11     17 96:23            54:4 57:21          34:19 46:25
       working 20:4        55:12 59:16    1701 2:11           58:9 62:1           55:16
       works 9:10,22       68:15 73:6,7   18 4:16,18 29:23    69:22 71:6        43 40:25 41:14
        10:6,10 12:16      73:11,22 84:14   30:1 66:22        73:13               42:1
        12:24 13:2         87:16 94:5       67:12            2022 1:15 18:6     46 4:8
        14:20 15:1,15      100:10 101:7   18-month 60:12      22:15 24:2,6      49 4:9
        16:2 18:21         101:11           68:24             39:2,7 57:24      4th 34:23 36:6
        19:14,22,25      year 26:22 57:20 18-months           71:9 103:1
                           99:25                                                        5
        20:17 21:12                         76:18             104:17,21
        22:9,12,18       years 7:2 20:8   19103 2:12          105:15 106:9      5 3:4,5 51:7
        23:24,25 24:7      20:21 21:8     1st 10:24 17:14     106:11 107:4      50 4:10
        27:3,12 28:9       25:8 26:22       18:6 20:22       2024 1:21          53 4:12
        30:7,19 31:1,6     28:10,12 29:14   105:15 106:11     106:16            53,000 51:22,24
        32:9 33:15         30:6 45:9 73:9                    215-963-5258         52:13,17
        35:7 37:17         73:13,25 74:23         2           2:13              56 4:19
        40:7 42:2,8        91:15 92:20    2 15:10 61:25      22 58:3            5th 36:15,20
        43:6,15,19                          64:20 101:5      23's 95:15
                                 Z                                                      6
        44:6,16 45:14                     20 9:18            26 4:13
                         Zoom 85:19       20-number 54:5                        6 57:14 73:2
        45:20 46:22        106:9                             27 1:15,21 103:1     74:6
        47:21,22 54:21                    20,000s 53:7        104:21 106:9
                                          2014 4:16 6:21                        61 4:15
        57:12 59:13              0                            106:16            65,000 52:10,11
        68:20 69:23      022 4:17           9:5 17:14 86:6   28,000 76:6
                                          2017 15:5,8                             52:16
        71:2 74:9                                            28,000-some-p...
        79:17,24 85:9            1          20:22 21:4        67:25                     7
        87:19 88:11      1 1:13 31:24       25:9,25 28:18    28,763 54:2 57:6   7 69:17
        89:9 90:4,14       53:20 105:8      29:4 51:16,25     67:21 68:8        72 4:20,24
        92:12,12 99:9      107:4            52:8 54:4                           73 47:8
        99:18,24         1-1 62:1           57:20 58:9               3
                                                                                75 47:8,18
       Works's 15:13     10 83:7            69:22 71:6       3 15:10 23:20      78 50:9
       Works/Health      101 103:23,23      73:13 96:13        24:6 25:15       7th 15:8,9 47:1
        9:25 55:1          107:15,15      2018  10:24          31:24 60:10        51:16,16 62:1
       wouldn't 20:1     102 105:8          34:23 47:1       30 107:6
        26:10 35:25      103 3:6          2019  36:6,15,20   30(b)(6) 13:17           8
        37:4 46:14       105 3:7            47:14,16 86:7      65:21 93:12,17 8 72:22 73:4


      888.909.2720                    Anthem Reporting                          813.272.2720
                                     anthemreporting.com
Case 8:21-cv-02852-TPB-TGW Document 54-11 Filed 08/03/22 Page 124 of 124 PageID 823

                                                                    [Page 124]

         74:5
       8:21-CV-2852...
         1:4 104:21
       813-579-2483
         2:6
       877)775-9393
         101:9
       88 50:9
       888)909-2720
         107:11
               9
       9 78:14
       9:30 1:17
       98 4:14
       9th 47:14,16




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